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                        EXHIBIT B
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                                                                                                                                                                  CM-010
ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address):
                                                                                                                               FOR COURT USE ONLY
Michael G. Olinik (SBN # 291020)
The Law Office of Michael G. Olinik, 501 W. Broadway, Ste. 800, San Diego, CA 92101

TELEPHONE NO.: (619) 780-5523                          FAX NO. :
EMAIL ADDRESS: michael@oliniklaw.com
ATTORNEY FOR (Name): Ronald A. Marron

SUPERIOR COURT OF CALIFORNIA, COUNTY OF San Diego
 STREET ADDRESS:330 W. Broadway
 MAILING ADDRESS:330 W. Broadway
CITY AND ZIP CODE:San Diego 92101
      BRANCH NAME:Central Division - Hall of Justice

CASE NAME:


       CIVIL CASE COVER SHEET                                   Complex Case Designation                      CASE NUMBER:

  ✖     Unlimited            Limited                   Counter               Joinder
        (Amount              (Amount
                                               Filed with first appearance by defendant JUDGE:
        demanded             demanded is
                                                   (Cal. Rules of Court, rule 3.402)
        exceeds $35,000)     $35,000 or less)                                            DEPT.:

                               Items 1–6 below must be completed (see instructions on page 2).
 1. Check one box below for the case type that best describes this case:
      Auto Tort                                            Contract                                        Provisionally Complex Civil Litigation
            Auto (22)                                       ✖      Breach of contract/warranty (06)        (Cal. Rules of Court, rules 3.400–3.403)
            Uninsured motorist (46)                                Rule 3.740 collections (09)                    Antitrust/Trade regulation (03)
      Other PI/PD/WD (Personal Injury/Property                     Other collections (09)                         Construction defect (10)
      Damage/Wrongful Death) Tort                                                                                 Mass tort (40)
                                                                   Insurance coverage (18)
             Asbestos (04)                                         Other contract (37)                            Securities litigation (28)
             Product liability (24)                                                                              Environmental/Toxic tort (30)
                                                           Real Property
             Medical malpractice (45)                                                                            Insurance coverage claims arising from the
                                                                   Eminent domain/Inverse
            Other PI/PD/WD (23)                                                                                  above listed provisionally complex case
                                                                   condemnation (14)
                                                                                                                 types (41)
      Non-PI/PD/WD (Other) Tort                                    Wrongful eviction (33)                  Enforcement of Judgment
             Business tort/unfair business practice (07)        Other real property (26)                         Enforcement of judgment (20)
             Civil rights (08)                             Unlawful Detainer
                                                                                                           Miscellaneous Civil Complaint
             Defamation (13)                                       Commercial (31)
                                                                                                                  RICO (27)
            Fraud (16)                                             Residential (32)
                                                                                                                  Other complaint (not specified above) (42)
             Intellectual property (19)                          Drugs (38)
                                                                                                           Miscellaneous Civil Petition
             Professional negligence (25)                  Judicial Review
                                                                                                                  Partnership and corporate governance (21)
           Other non-PI/PD/WD tort (35)                            Asset forfeiture (05)
      Employment                                                   Petition re: arbitration award (11)            Other petition (not specified above) (43)

             Wrongful termination (36)                             Writ of mandate (02)
             Other employment (15)                                 Other judicial review (39)
2.  This case         is        ✖   is not    complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
    factors requiring exceptional judicial management:
                                                                     d.       Large number of witnesses
   a.        Large number of separately represented parties
   b.        Extensive motion practice raising difficult or novel    e.       Coordination  with related actions pending in one or more
             issues that will be time-consuming to resolve                    courts in other counties, states, or countries, or in a federal
                                                                              court
   c.        Substantial amount of documentary evidence                       Substantial postjudgment judicial supervision
                                                                     f.
3. Remedies sought (check all that apply): a. ✖ monetary b. ✖ nonmonetary; declaratory or injunctive relief c.                        punitive
4.  Number   of causes   of action (specify): 9, Breach of Contract, Fraud X 3, Negligence X 2, Promissory Estoppel, UCL, Reformation
5. This case          is            is not    a class action suit.
6. If there are any known related cases, file and serve a notice of related case. (You may use form CM-015.)
Date: January 17, 2024
Michael G. Olinik
                            (TYPE OR PRINT NAME)                                                         (SIGNATURE OF PARTY OR ATTORNEY FOR PARTY)
                                                                            NOTICE
 • Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
     under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to file may result in sanctions.
 • File this cover sheet in addition to any cover sheet required by local court rule.
 • If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all other parties to
   the action or proceeding.
 • Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only.              Page 1 of 2
Form Adopted for Mandatory Use                                                                                      Cal. Rules of Court, rules 2.30, 3.220, 3.400–3.403, 3.740;
Judicial Council of California                              CIVIL CASE COVER SHEET                                          Cal. Standards of Judicial Administration, std. 3.10
CM-010 [Rev. January 1, 2024]                                                                                                                               www.courts.ca.gov
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                                                                                                      FOR COURT USE ONLY
SUPERIOR COURT OF CALIFORNIA, COUNTY OF SAN DIEGO
STREET ADDRESS:        330 W Broadway
MAILING ADDRESS:       330 W Broadway
CITY AND ZIP CODE:     San Diego CA 92101-3827
BRANCH NAME:           Central

Short Title: Marron vs JPMorgan Chase Bank NA [IMAGED]

                                                                                             CASE NUMBER:
              NOTICE OF CONFIRMATION OF ELECTRONIC FILING                                    37-2024-00006839-CU-BC-CTL


         San Diego Superior Court has reviewed the electronic filing described below. The fee assessed for
         processing and the filing status of each submitted document are also shown below.

         Electronic Filing Summary Data
         Electronically Submitted By:              Michael Olinik
                On Behalf of:                      Ronald Marron
         Transaction Number:                       21936328
         Court Received Date:                      01/18/2024

                Filed Date:                        01/18/2024
                Filed Time:                        02:18 PM

         Fee Amount Assessed:                      $435.00
         Case Number:                              37-2024-00006839-CU-BC-CTL

         Case Title:                               Marron vs JPMorgan Chase Bank NA [IMAGED]
         Location:                                 Central
         Case Type:                                Breach of Contract/Warranty
         Case Category:                            Civil - Unlimited
         Jurisdictional Amount:                    > 35000

         Status                                    Documents Electronically Filed/Received

         Accepted                                  Complaint

         Accepted                                  Civil Case Cover Sheet

         Rejected                                  Original Summons

                     RejectReason 1: Other
                     Comments to submitter 1: All names listed on the Complaint must match exactly on the Summons. The
                     Plaintiff does not match. Please review electronic filing requirements and correct. Thank you.


         Comments


         Clerk's Comments:
         Events Scheduled

         Hearing(s)                                      Date          Time            Location         Department
         Civil  Case         Management                  07/19/2024     01:30 PM          Central           C-73
         Conference




 02/15/2024                                          NOTICE OF CONFIRMATION OF FILING
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CASE TITLE: Marron vs JPMorgan Chase Bank NA [IMAGED]             CASE NUMBER: 37-2024-00006839-CU-BC-CTL


      Electronic Filing Service Provider Information

      Service Provider:     Green Filing
      Email:                support@efilinghelp.com
      Contact Person:       Green Filing, LLC Support
      Phone:                (801) 448-7268




 02/15/2024                              NOTICE OF CONFIRMATION OF FILING
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 4
     Attorney for Plaintiffs Ronald A. Marron
 5
 6
 7
 8                       SUPERIOR COURT OF THE STATE OF CALIFORNIA
                                    COUNTY OF SAN DIEGO
 9                                   CENTRAL DIVISION
10    RONALD A. MARRON, an individual,                   Case No:
11                         Plaintiff,                    COMPLAINT FOR:
12                  v.                                    (1)   BREACH OF CONTRACT;
13    JPMORGAN CHASE BANK, N.A., a                        (2)   FRAUD IN THE INDUCEMENT;
      national banking association, and DOES 1-
14    10, INCLUSIVE,                                      (3)   FRAUDULENT
15                         Defendant.                           MISREPRESENTATION;
16                                                        (4)   FALSE PROMISE;

17                                                        (5)   NEGLIGENT

18                                                              MISREPRESENTATION;

19                                                        (6)   PROMISSORY ESTOPPEL;

20                                                        (7)   NEGLIGENCE;

21                                                        (8)   VIOLATION OF THE UNFAIR

22                                                              COMPETITION LAWS; and

23                                                        (9)   REFORMATION

24                                                        UNLIMITED CIVIL ACTION
25
                                                        DEMAND FOR JURY TRIAL
26
27
28

                                                     1
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 1          Plaintiff Ronald A. Marron alleges against Defendant JPMorgan Chase Bank, N.A. (“Chase”),
 2   a national bank, the following upon his own personal knowledge, or where there is no personal
 3   knowledge, upon information and belief.
 4                                             I. INTRODUCTION
 5          1.      In the midst of rising interest rates, mortgage lenders began offering rate lock
 6   agreements to potential homeowners to purportedly protect the homeowners by locking in an interest
 7   rate for a certain period of time, giving the homeowners the opportunity to look for a property without
 8   worrying about the interest rate on the mortgage going up. Of course, the lenders did not do this out
 9   of the kindness of their hearts but instead charged customers a fee for these agreements, one that
10   would be non-refundable even if the mortgage was never consummated.
11          2.      When Chase offered a rate lock to Mr. Marron, they included a representation of what
12   his interest rate would be, including what discount points would be included in the locked rate, which
13   included an assessment of all the discount points Mr. Marron was entitled to. Based on those
14   representations, Mr. Marron agreed to enter into the “Lock In Agreement” and paid the fee for the
15   Lock In Agreement.
16          3.      After entering the Lock In Agreement, Chase then reviewed Mr. Marron’s discount
17   points. Nothing had changed regarding Mr. Marron’s accounts, yet Chase unilaterally decided that
18   one of the accounts Mr. Marron had with Chase would no longer count towards discount points. Thus,
19   despite the Lock In Agreement, Chase charged Mr. Marron a higher interest rate than he paid for in
20   the Lock In Agreement. This costs Mr. Marron thousands of dollars over the life of the loan, and as
21   the transaction was nearly complete, Mr. Marron was unable to shop for a different mortgage went
22   purchasing the Property. This action seeks to recover the difference in the money Mr. Marron has
23   spent to do date and seeks to reform the note and deed of trust to reflect the promised interest rate.
24                                      II. JURISDICTION AND VENUE
25          4.      Pursuant to Article VI, § 10 of the California Constitution, subject matter jurisdiction is
26   proper in the Superior Court of California, county of San Diego.
27
28

                                                       2
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 1          5.      The amount in controversy under this Complaint exceeds the jurisdictional minimal
 2   jurisdictional limit of this Court, and the claims asserted in this Complaint are within the subject-
 3   matter jurisdiction of this Court, as the mortgage at issue is valued at over $25,000.
 4          6.      This Court has personal jurisdiction over Defendant because it is an association,
 5   corporation, limited liability company, business entity, national association, and/or person that resides
 6   in, are based in, authorized to, and/or registered to conduct, and in fact do conduct, substantial
 7   business in the state of California, county of San Diego.
 8          7.      Venue is proper in this Court because material acts upon which this Complaint is based
 9   upon occurred in the county of San Diego, and because Defendant conducts substantial business, holds
10   significant contacts, operate business facilities, and entered into a contract with Plaintiff within the
11   state of California, county of San Diego.
12                                                 III. PARTIES
13          8.      Plaintiff Ronald Marron, a natural person, is, and at all times mentioned herein was, a
14   resident and citizen of the state of California.
15          9.      Defendant JPMorgan Chase Bank, N.A., is a national bank with its principle place of
16   business located in New York, New York.
17          10.     The true names and capabilities, whether individual, corporate, associate, or otherwise,
18   of the Doe Defendants 1 through 10, are unknown to Plaintiffs, and therefore sue these Doe
19   Defendants by such fictitious names pursuant to California Code of Civil Procedure § 474. Plaintiffs
20   will seek leave to amend this Complaint to show their true names and capacities when the same has
21   been ascertained.
22          11.     Plaintiffs are informed and believe, and based thereon allege, that each of the Doe
23   Defendants were, or are, in some way or manner, responsible and liable to Plaintiffs and Class
24   Members for the events, happenings, and damages hereinafter set forth in the body of this Complaint.
25   Plaintiffs are informed and believe, and based thereon allege, that said Doe Defendants may be
26   responsible for the damages and injuries suffered by Plaintiffs and Class Members on alternative
27   theories of liability not specifically addressed herein.
28

                                                        3
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 1          12.     Plaintiffs are informed and believe, and based thereon allege, that Defendants, and each
 2   of them, were, and are, an owner, co-owner, agent, representative, partner, and/or alter ego of its co-
 3   defendants, or otherwise acted, and continue to act, on behalf of each and every remaining defendant
 4   and, in doing the things hereinafter alleged, were, at all times material hereto, acting within the course
 5   and scope of their authorities as an owner, co-owner, agent, representative, partner, and/or alter ego of
 6   its co-defendants, with the full knowledge, permission, consent, and authorization of each and every
 7   remaining defendant, each co-defendant having ratified or promoted the acts of the other co-
 8   defendants, such that each of them are jointly and severally liable to Plaintiffs and Class Members.
 9                                       IV. GENERAL ALLEGATIONS
10          13.     Mr. Marron approached Chase in 2021 in order to obtain a mortgage on his property
11   located at 3385 B Street, San Diego, CA 92101, San Diego County (“Property”).
12          14.     When negotiating the mortgage, Chase offered Mr. Marron a Lock In Agreement,
13   promising to hold the interest rate for the mortgage for a period of 45 days in exchange for the
14   payment of a Lock-In Fee. A true and correct copy of the Lock In Agreement is attached hereto as
15   Exhibit 1.
16          15.     Chase was the sole drafter of the Lock In Agreement.
17          16.     In the Lock In Agreement, Chase represented to Mr. Marron that his interest rate would
18   be locked in at 2.625% until March 29, 2021. Mr. Marron’s total discount points were set to 0.764%.
19          17.     The Lock In Agreement also came with a disclaimer, reading:
20          The rate and points stated in this agreement are based on several factors, including but
            not limited to: loan amount, documentation type, loan type, occupancy type, property
21          type, credit score, and loan to value (which is your loan amount compared to your
            property value). The final rate and points may be higher or lower based on information
22          relating to factors such as those listed above, which may be determined after the date of
            this agreement.
23
24          18.     Mr. Marron agreed to the terms of the Lock In Agreement and paid the Lock-In Fees.
25          19.     Before the mortgage became final, Chase informed Mr. Marron that his interest rate
26   would be higher than the interest rate promised in the Lock In Agreement. The reason Chase gave for
27   the increase in the interest rate was that Chase determined that one of the accounts they had previously
28   counted towards Mr. Marron’s discount points would no longer be counted towards discount points.

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 1          20.     There was no change in the type of accounts Mr. Marron had from when Chase made
 2   the representation of the discount points in the Lock In Agreement and when Mr. Marron executed the
 3   note and deed of trust. Chase simply determined that they had incorrectly calculated the discount
 4   points in the Lock In Agreement despite having all of the information available to it at the time they
 5   offered the Lock In Agreement.
 6          21.     The new interest rate Chase gave to Mr. Marron in the note and the deed of trust was
 7   2.75%, an increase of 0.125% over the rate promised in the Lock In Agreement. A true and correct
 8   copy of the deed of trust is attached as Exhibit 2. Upon information and belief, the note is in the
 9   possession of Chase.
10          22.     Mr. Marron would not have signed the Lock In Agreement and would have shopped
11   around for better interest rates if Chase had accurately calculated the discount points when it offered
12   the Lock In Agreement.
13          23.     Mr. Marron could not shop around for different mortgages at the time Chase offered
14   the final rate of 2.75% because interest rates had increased in the meantime, Mr. Marron had already
15   paid the Lock-In Fees, and the transaction was too far along to back out at that point.
16          24.     Mr. Marron has timely paid his mortgage payments.
17                                         V. CAUSES OF ACTION
18                                            First Cause of Action
19                                             Breach of Contract
20          25.     Plaintiff re-alleges and incorporates by reference each and every allegation set forth in
21   this Complaint with the same force and effect, and further alleges as follows:
22          26.     Chase offered the Lock In Agreement to Mr. Marron, attached to the Complaint as
23   Exhibit 1.
24          27.     Mr. Marron accepted the offer of the Lock In Agreement and paid the Lock-In Fee.
25          28.     Mr. Marron has performed all obligations under both the Lock In Agreement and the
26   note and deed of trust that resulted from the Lock In Agreement.
27          29.     Chase failed to perform the Lock In Agreement by giving Mr. Marron an interest rate
28   of 2.75 instead of 2.625% as promised by the Lock In Agreement.

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 1          30.     As a result, Mr. Marron suffered damages because he had to pay money in excessive of
 2   what his mortgage would have been if the deed of trust and note complies with the Lock Rate
 3   Agreement.
 4                                           Second Cause of Action
 5                                          Fraud in the Inducement
 6          31.     Plaintiff re-alleges and incorporates by reference each and every allegation set forth in
 7   this Complaint with the same force and effect, and further alleges as follows:
 8          32.     Chase offered the Lock In Agreement to Mr. Marron in exchange for the Lock-In Fee.
 9          33.     Chase calculated Mr. Marron’s discount points based on all information and presented
10   those discount points in the Lock In Agreement despite being under no obligation to address discount
11   points in the Lock In Agreement.
12          34.     Chase knew that it would lower the discount points after Mr. Marron signed the Lock
13   In Agreement and paid the Lock In Fee because the nature of all of Mr. Marron’s accounts remained
14   the same before the Lock In Agreement was offered and after Mr. Marron accepted it. Therefore,
15   Chase knew that the discount points stated in the Lock In Agreement were false.
16          35.     Chase provided Mr. Marron with more discount points than it would end up giving Mr.
17   Marron when it offered Mr. Marron the note and deed of trust to get Mr. Marron to enter into the Lock
18   In Agreement and pay the Lock-In Fee, as well as to ensure Mr. Marron would stop shopping around
19   for other offers from other banks due to his sunk cost in paying the Lock-In Fee.
20          36.     As a result of Chase’s inducement of Mr. Marron, Mr. Marron entered into the Lock In
21   Agreement and ultimately entered into a note and deed of trust in reliance on Chase’s representation
22   of the discount points in the Lock In Agreement.
23          37.     Mr. Marron’s reliance on Chase’s representation of the discount points was reasonable
24   as, even despite the notice that the discount points could be adjusted, Mr. Marron did not alter any of
25   his accounts to cause the discount points to be altered.
26          38.     Mr. Marron would not have entered into the Lock In Agreement and ultimately the note
27   and deed of trust if Chase had not misrepresented his discount points in the Lock In Agreement.
28

                                                       6
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 1            39.   As a result of Chase’s conduct, Mr. Marron has suffered damages in the amount of
 2   extra money paid each month for the mortgage due to the increase of the interest rate from 2.625% to
 3   2.75%.
 4                                           Third Cause of Action
 5                                       Fraudulent Misrepresentation
 6            40.   Plaintiff re-alleges and incorporates by reference each and every allegation set forth in
 7   this Complaint with the same force and effect, and further alleges as follows:
 8            41.   Chase represented to Mr. Marron in the Lock In Agreement that his discount points
 9   were 0.764%.
10            42.   The actual discount rate was .125% less and the locked interest rate was 2.75%.
11            43.   At the time Chase represented the discount points to Mr. Marron in the Lock In
12   Agreement, Chase knew that the representation was false because Chase had all of the information
13   regarding Mr. Marron’s accounts and calculated the discount rate itself.           Alternatively, Chase
14   recklessly made the misrepresentation by miscalculating the discount points despite having all of the
15   information necessary to perform the correct calculations.
16            44.   Chase intended on Mr. Marron to rely on its representation of the discount rate and the
17   interest on the note and deed of trust in order to get Mr. Marron to sign the Lock In Agreement, pay
18   the Lock-In Fees, and ultimately obtain a note and deed of trust with Chase.
19            45.   Mr. Marron reasonably relied as, even despite the notice that the discount points could
20   be adjusted, Mr. Marron did not alter any of his accounts to cause the discount points to be altered.
21            46.   Mr. Marron would not have entered into the Lock In Agreement and ultimately the note
22   and deed of trust if Chase had not misrepresented his discount points in the Lock In Agreement.
23            47.   As a result of Chase’s conduct, Mr. Marron has suffered damages in the amount of
24   extra money paid each month for the mortgage due to the increase of the interest rate from 2.625% to
25   2.75%.
26
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                                                      7
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 1                                          Fourth Cause of Action
 2                                               False Promise
 3            48.   Plaintiff re-alleges and incorporates by reference each and every allegation set forth in
 4   this Complaint with the same force and effect, and further alleges as follows:
 5            49.   Chase made a promise to Mr. Marron that his interest rate would be locked in at
 6   2.625% based on a discount rate of 0.764% through the Lock In Agreement.
 7            50.   Chase did not intend to perform this promise as made because Chase knew that
 8   ultimately it would reduce the discount points by .125%.
 9            51.   Chase intended on Mr. Marron to rely on its representation of the discount rate and the
10   interest on the note and deed of trust in order to get Mr. Marron to sign the Lock In Agreement, pay
11   the Lock-In Fees, and ultimately obtain a note and deed of trust with Chase.
12            52.   Mr. Marron reasonably relied as, even despite the notice that the discount points could
13   be adjusted, Mr. Marron did not alter any of his accounts to cause the discount points to be altered.
14            53.   Mr. Marron’s reliance on Chase’s false promise was a substantial factor in causing Mr.
15   Marron harm because Mr. Marron would not have entered into the Lock In Agreement and ultimately
16   the note and deed of trust if Chase had not misrepresented his discount points in the Lock In
17   Agreement. Mr. Marron would have continued shopping around for a better rate at the time he
18   entered the Lock In Agreement.
19            54.   Chase ultimately offered Mr. Marron an interest rate of 2.75% instead of 2.625%.
20            55.   As a result of Chase’s conduct, Mr. Marron has suffered damages in the amount of
21   extra money paid each month for the mortgage due to the increase of the interest rate from 2.625% to
22   2.75%.
23                                           Fifth Cause of Action
24                                        Negligent Misrepresentation
25            56.   Plaintiff re-alleges and incorporates by reference each and every allegation set forth in
26   this Complaint with the same force and effect, and further alleges as follows:
27            57.   Through the Lock In Agreement, Chase represented that Mr. Marron’s discount rate
28   would be 0.764% and the interest rate he was locking in was 2.625%.

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 1            58.   The actual discount rate was .125% less and the actual interest rate was 2.75%.
 2            59.   Although Chase believed the discount rate was 0.764%, Chase had no reasonable
 3   grounds for believing that the representation was true when it made the representation because it had
 4   all the information available to it to calculate the proper discount rate and did not accurately calculate
 5   the discount rate.
 6            60.   Chase intended on Mr. Marron to rely on its representation of the discount rate and the
 7   interest on the note and deed of trust in order to get Mr. Marron to sign the Lock In Agreement, pay
 8   the Lock-In Fees, and ultimately obtain a note and deed of trust with Chase.
 9            61.   Mr. Marron reasonably relied as, even despite the notice that the discount points could
10   be adjusted, Mr. Marron did not alter any of his accounts to cause the discount points to be altered.
11            62.   Mr. Marron was harmed because Chase ultimately offered Mr. Marron an interest rate
12   of 2.75% instead of 2.625%.
13            63.   Mr. Marron’s reliance on Chase’s false promise was a substantial factor in causing Mr.
14   Marron harm because Mr. Marron would not have entered into the Lock In Agreement and ultimately
15   the note and deed of trust if Chase had not misrepresented his discount points in the Lock In
16   Agreement. Mr. Marron would have continued shopping around for a better rate at the time he
17   entered the Lock In Agreement.
18            64.   As a result of Chase’s conduct, Mr. Marron has suffered damages in the amount of
19   extra money paid each month for the mortgage due to the increase of the interest rate from 2.625% to
20   2.75%.
21                                            Sixth Cause of Action
22                                            Promissory Estoppel
23            65.   Plaintiff re-alleges and incorporates by reference each and every allegation set forth in
24   this Complaint with the same force and effect, and further alleges as follows:
25            66.   Chase promised Mr. Marron through the Lock In Agreement that it would lock the
26   interest rate on Mr. Marron’s note and deed of trust would be 2.625% based on Chase’s own
27   calculations of Mr. Marron’s discount rates.
28

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 1            67.   Chase reasonably expected Mr. Marron to enter into the Lock In Agreement and pay
 2   the Lock-In Fees, as well as forebear shopping for better interest rates elsewhere, based on the
 3   promise Chase made to Mr. Marron.
 4            68.   Mr. Marron stopped shopping for other mortgages with better interest rates based on
 5   Chase’s promise, signed the Lock In Agreement, and paid the Lock-In fees.
 6            69.   Chase later claimed that it had miscalculated the discount rate and therefore
 7   miscalculated the discount rate after Mr. Marron signed the Lock In Agreement and paid the Lock-In
 8   fees even though there was no change in Mr. Marron’s accounts.
 9            70.   As a result of Chase’s conduct, Mr. Marron has suffered damages in the amount of
10   extra money paid each month for the mortgage due to the increase of the interest rate from 2.625% to
11   2.75%.
12            71.   Justice can only be served by enforcing the original interest rate of 2.625% because the
13   increase of the rate to 2.75% was entirely due to Chase’s error, and chase obtained Lock-In Fees from
14   Mr. Marron in addition to now charging him more interest on his mortgage, increasing his payments
15   every month.
16                                         Seventh Cause of Action
17                                                 Negligence
18            72.   Plaintiff re-alleges and incorporates by reference each and every allegation set forth in
19   this Complaint with the same force and effect, and further alleges as follows:
20            73.   Through the Lock In Agreement, Chase represented that Mr. Marron’s discount rate
21   would be 0.764% and the interest rate he was locking in was 2.625%.
22            74.   Chase had a duty to properly calculate the discount points and locked in interest rate
23   when it proposed the Lock In Agreement to Mr. Marron.
24            75.   Chase failed to properly calculate the locked in interest rate and discount points, thus
25   breaching its duty to Mr. Marron.
26            76.   As a result of Chase’s negligence, Mr. Marron was unable to shop around for other
27   mortgages with more favorable interest rates and paid the Lock-In Fees.
28

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                                     Marron v. JPMorgan Chase Bank, N.A.
                                                 COMPLAINT
Case 3:24-cv-01569-JES-AHG             Document 1-3        Filed 09/04/24     PageID.65       Page 15
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 1            77.    As a result of Chase’s conduct, Mr. Marron has suffered damages in the amount of
 2   extra money paid each month for the mortgage due to the increase of the interest rate from 2.625% to
 3   2.75%.
 4                                           Eighth Cause of Action
 5                                 Violation of the Unfair Competition Laws
 6            78.    Plaintiff re-alleges and incorporates by reference each and every allegation set forth in
 7   this Complaint with the same force and effect, and further alleges as follows:
 8            79.    California Business & Professions Code § 17200 et seq. (“UCL”) defines unfair
 9   competition as any unlawful, unfair, or fraudulent business act or practice. Section 17203 authorizes
10   injunctive, declaratory, and/or other equitable relief with respect to unfair competition as follows:
11            Any person who engages, has engaged, or proposes to engage in unfair competition may
              be enjoined in any court of competent jurisdiction. The court may make such orders or
12            judgments, including the appointment of a receiver, as may be necessary to prevent the
              use or employment by any person of any practice which constitutes unfair competition,
13            as defined in this chapter, or as may be necessary to restore to any person in interest any
              money or property, real or personal, which may have been required by means of such
14            unfair competition.
15   California Business & Professions Code § 17203.
16            80.    Through the conduct alleged herein, Defendants engaged in unlawful business practices
17   by engaging in fraudulent behavior by miscalculating the discount points Mr. Marron was entitled to,
18   thereby causing Chase to offer a lower interest rate in the Lock In Agreement than Chase would later
19   offer in the note and mortgage, for which this Court should issue declaratory, injunctive and/or other
20   equitable relief, pursuant to Cal. Bus. & Prof. Code § 17203, as may be necessary to prevent and
21   remedy the conduct held to constitute unfair competition.
22            81.    As a result of Chase’s conduct, Mr. Marron has suffered damages in the amount of
23   extra money paid each month for the mortgage due to the increase of the interest rate from 2.625% to
24   2.75%. Declaratory and injunctive relief is necessary to prevent and remedy this unfair competition,
25   and pecuniary compensation alone would not afford adequate and complete relief.
26            82.    Mr. Marron lost money which Chase retained in the form of increased mortgage
27   payments based on the interest rate of 2.75% instead of the 2.625% promised in the Lock In
28   Agreement.

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                                      Marron v. JPMorgan Chase Bank, N.A.
                                                  COMPLAINT
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 1          83.     Plaintiff has no plain, speedy, and/or adequate remedy at law that will end the unfair
 2   and unlawful business practices of Chase. As a result of the unfair and unlawful business practices
 3   described above, Mr. Marron has suffered and will continue to suffer irreparable harm. In addition,
 4   Defendants should be required to disgorge the surplus to Mr. Marron and any other unjust enrichment
 5   Chase received at Mr. Marron’s expense.
 6                                           Ninth Cause of Action
 7                                                  Reformation
 8          84.     Plaintiff re-alleges and incorporates by reference each and every allegation set forth in
 9   this Complaint with the same force and effect, and further alleges as follows:
10          85.     Cal. Civ. Code § 3399 states:
11          When, through fraud or a mutual mistake of the parties, or a mistake of one party, which
            the other at the time knew or suspected, a written contract does not truly express the
12          intention of the parties, it may be revised on the application of a party aggrieved, so as to
            express that intention, so far as it can be done without prejudice to rights acquired by
13          third persons, in good faith and for value.
14   Cal. Civ. Code § 3399.
15          86.     Chase procedure the note and deed of trust from Mr. Marron through fraud.
16          87.     As alleged above, Chase, based on its own calculations, calculated the discount points
17   and locked interest rate in the Lock In Agreement, offering Mr. Marron a locked in interest rate of
18   2.625%.
19          88.     Chase later claimed that those calculations were incorrect, despite there being no
20   change in Mr. Marron’s accounts between the time of the Lock In Agreement and the time of the note
21   and deed of trust which had an interest rate of 2.75%.
22          89.     When presented with the note and deed of trust, Mr. Marron had no choice to but to
23   sign the 2.75% note and deed of trust because interest rates had rose since signing the Lock In
24   Agreement and Mr. Marron was unable to obtain any other offers as the original 2.625% rate.
25          90.     Because Chase obtained Mr. Marron’s signature on the note and deed of trust through
26   fraud, the Court should reform the note and deed of trust to have an interest rate of 2.625%.
27   ///
28   ///

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                                     Marron v. JPMorgan Chase Bank, N.A.
                                                 COMPLAINT
 1                                     VI. PRAYER FOR RELIEF
 2          WHEREFORE, Mr. Marron pray for judgment against JPMorgan Chase Bank, N.A., as
 3   follows:
 4          1.    Compensatory Relief in an amount to be determined at trial;
 5          2.    Injunctive Relief, including but not limited to an order preventing JPMorgan Chase
 6                Bank, N.A. from continuing its illegal activities;
 7          3.    Disgorgement of profits and surplus from the money obtained from Mr. Marron over
 8                the 6.25% interest rate;
 9          4.    Reformation of the note and deed of trust to reflect an interest rate of 2.625%; and
10          5.    Any such other and further relief as this Court may deem necessary, just, and/or proper.
11
12
     Date: January 17, 2024                             ______________________________

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                                                        Michael G. Olinik
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15                                                      Attorney for Plaintiff Ronald A. Marron
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                                   Marron v. JPMorgan Chase Bank, N.A.
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                    EXHIBIT 1
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             Case 3:24-cv-01569-JES-AHG                 Document 1-3                Filed 09/04/24          PageID.69     Page 19
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                                                         LOCK-IN AGREEMENT
    Lender: JPMorgan Chase Bank, N.A.                                                          Date: 02/12/2021
                                                                                               Loan Number: 1389789707
    Borrower(s): Ronald A. Marron                                                              Property Address: 3385 b Street, San
                                                                                               Diego, CA 92102
    Loan Amount: $708,000.00                                                             Term: 30 years
    Loan Type: 30 year fixed                                                             Financing Type: Conventional



    PLEASE READ THE TERMS AND CONDITIONS OF THIS AGREEMENT CAREFULLY. In this Agreement "I", "me",
    "my" means all of the applicants who sign below. The words "you", "your" and "Lender" mean JPMorgan Chase Bank,
    N.A.
    LOAN COSTS AND TERMS: Refer to your Loan Estimate for a full description of your loan costs and terms. If you're
    shopping for a home, we'll provide your Loan Estimate once we receive the address of the property that will secure the
    loan.

    l I. FLOAT OPTION
               I don't want to lock in my interest rate, discount points and fees at this time. Interest rates, discount points and
               fees are subject to change and it is my responsibility to monitor Lender's loan terms during the period in which
               I choose to float. I may lock in my interest rate at any time during the term of my float. Lender is required to
               provide the Closing Disclosure to me at least three business days before my closing can take place so I have time
               to review it and ask questions. To lock my rate, discount points and fees, I will contact my Mortgage Banker.

    l II. NOT LOCKED
               I understand I can't lock in an interest rate while still shopping for a home and that a property address is
               required before I can lock in my interest rate.

    x III.LOCK-IN OPTION
               I want to lock in my interest rate, discount points and fees at this time. I HAVE ELECTED THE 45 DAY LOCK
               OPTION AS DETAILED BELOW.

    The rate and points stated in this agreement are based on several factors, including but not limited to: loan amount,
    documentation type, loan type, occupancy type, property type, credit score, and loan to value (which is your loan amount
    compared to your property value). The final rate and points may be higher or lower based on information relating to
    factors such as those listed above, which may be determined after the date of this agreement.
    INTEREST RATE:                                 2.625%                   DISCOUNT POINTS                    0.764%   $5,409.12
    EXPIRATION DATE:                           03/29/2021

                                           FEES ASSOCIATED WITH LOCK OPTIONS:
    LOCK IN FEE:                                   0.000%                $0.00
    FLOAT DOWN FEE:                                0.000%                $0.00
    RATE CAP FEE:                                     N/A                N/A
    EXTENDED LOCK-IN FEE:                             N/A                N/A

    NOTE: LOCK-IN, EXTENDED LOCK-IN AND, DEPENDING ON THE OPTION SELECTED, RATE CAP FEES, PAID PRIOR TO
    CLOSING WILL BE CREDITED AT CLOSING TOWARD CLOSING COSTS.
    EXPIRATION DATE: If the Expiration Date falls on a weekend or Lender-observed holiday, the Expiration Date will
    extend to the next business day. If my loan does not close by the Expiration Date, I may be charged a rate lock extension
    fee.
    l If checked, the interest rate is adjustable and subject to change. The initial interest rate shall be the rate specified
    above. I hereby acknowledge that an Adjustable Rate Mortgage ("ARM") Disclosure describing the features of my ARM
    has been provided to me.
                                                    SELECT A LOCK-IN OPTION
    x 15, 30, 45, 60, 75 or 90 DAY LOCK: I have selected the 15, 30, 45, 60, 75 or 90 Day Lock Option as specified above
    which locks in my interest rate and/or points for the loan program for the applicable time period.



                                                                                                                                    1389789707
    Lock-In Agreement - Multi-state
    CL5220RNA 05/19 (replaces 1/17)
                                                        2021021220.3.0.3368-J20201124Y                                              Page 1 of 2
                                                                                           *MPX1389789707 0204 7221*
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             Case 3:24-cv-01569-JES-AHG             Document 1-3                 Filed 09/04/24         PageID.70   Page 20
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    l 45 OR 60 DAY LOCK FLOAT DOWN OPTION: I have selected the 45 or 60 Day Lock Float Down Option which
    allows me to lock in for 45 or 60 days, as specified above. If the interest rate and/or points for the loan program and lock
    period I have selected decrease during the 30 calendar days prior to my loan closing, then I may obtain a new lower rate
    and/or points (the "Float Down Rate"). I may only select a Float Down Rate that corresponds to my original lock period.
    For example, if my original lock-in is for 60 days, my Float Down Rate must be selected from the then current 60-day rate
    options that correspond to my loan program. My new Expiration Date will be the earlier of my original Expiration Date or
    the date 30 calendar days from my election of the Float Down Rate.
    l RATE CAP OPTION: I have selected the Rate Cap Option which allows me both to lock in for a period of 90, 120, 150,
    180, 270 or 360 days as specified above and the opportunity to close at a rate and/or points lower than my locked rate and/
    or points as specified below.
    l EXTENDED RATE LOCK OPTION: I have selected the Extended Rate Lock Option which allows me to lock in for a
    period of 120, 150, 180, 270 or 360 days as specified above.
                                                                   FEES
    LOCK-IN, EXTENDED LOCK-IN AND RATE CAP FEES (together "Lock-In Fees"): I agree to pay Lock-in Fees in the
    amount(s) stated above to lock-in my interest rate, discount points and fees. Lock-in, Extended Lock-in and, depending on
    the option selected on the Rate Cap, Rate Cap Fees will be credited at closing toward closing costs.
    To exercise my one-time option to lock a rate and/or points lower than my existing locked rate and/or points, as described
    in the 45 or 60 Day Lock Float Down Option, Rate Cap Option paragraphs immediately above, I will contact my
    Mortgage Banker. I understand that I will be responsible for monitoring Lender's interest rates, discount points and fees in
    connection with this float down option.
    FLOAT DOWN FEE: I agree to pay a Float Down Fee, if applicable, in the amount stated above. I understand that I
    must pay an upfront Float Down Fee as stated above. This Float Down Fee is in addition to any other fees which I will
    or have already paid to lock my interest rate, discount points and fees. EXCEPT AS DESCRIBED BELOW, LENDER
    WILL RETAIN THE ENTIRE FLOAT DOWN FEE AS AN EARNED FEE FOR SERVICES PROVIDED. THE
    FLOAT DOWN OPTION FEE ISN'T REFUNDED AT CLOSING OR APPLIED TO CLOSING COSTS.
    REFUNDABILITY OF LOCK-IN AND FLOAT DOWN FEES: These Lock-In and Float Down Fees will be refunded
    to me if my loan application is denied for credit reasons. These Lock-In and Float Down Fees won't be refunded to me
    if I have withdrawn my application or my loan doesn't close and fund by the Expiration Date of this Agreement, if
    I supply inaccurate or incomplete information or, unless approved in writing by Lender, I change the type, term,
    property or amount of the loan for which I applied. The Float Down Fee won't be refunded if I fail to exercise the
    Float Down Option.
    I won’t be entitled to any interest that may accrue on the Lock-In, Extended Lock-In, Rate Cap or Float Down Fees,
    whether or not they are refunded to me. If I have any questions, I’ll contact my Mortgage Banker.
                                      OTHER CONDITIONS AND DISCLOSURES
    COMMITMENT: I understand that this agreement isn't a loan approval or a commitment to offer a loan. Lender will
    make a good faith effort to process my loan application and, if approved, to close and fund my loan prior to the expiration
    date.
    ASSIGNMENT: I may not assign this agreement to any other person.
    VERIFICATION: This lock-in is subject to verification of all information provided to Lender in my application and
    credit report. The locked interest rate, fees and points may be subject to change if my credit standing changes or unless
    approved in writing by Lender, if I change the type, term, property or amount of loan for which I applied, or in the event
    any information I have provided to Lender in my application or otherwise is found to be false or incorrect in any way, or if
    I have selected Lender Paid Mortgage Insurance and my loan-to-value ratio changes by date of closing.

    Borrower


                                                   02/13/2021

    Ronald A. Marron                                      Date
    Lender: JPMorgan Chase Bank, N.A.
    The name below will serve as our signature.
    By: Holmes Thompson Bennett III                       02/12/2021
        SA-Executive Mortgage Banker                          Date

    NMLS ID: 693865




                                                                                                                          1389789707
    Lock-In Agreement - Multi-state
    CL5220RNA 05/19 (replaces 1/17)
                                                     2021021220.3.0.3368-J20201124Y                                       Page 2 of 2
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                    EXHIBIT 2
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Recording Requested By: Amrock                                                                           lllll
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Title California Inc.                                                                                  May 12, 2021 08:00 AM
                                                                                                             OFFICIAL RECORDS
Return To: JPMorgan Chase Bank,                                                                         Ernest J. Dronen burg, Jr.,
N.A. Chase Records Center Attn:                                                                      SAN DIEGO COUNTY RECORDER
Collateral                                                                                           FEES: $140.00 (SB2 Atkins: $75.00)
Trailing Documents, RE:MC 8000
                                                                                                                                PAGES: 17
700 Kansas Lane
Monroe, LA 71203
Property Address: 3385 b Street, San
Diego, CA 92102
Parcel Number: 539-571-09-00



                                                                 Deed of Trust

Definitions. Words used in multiple sections of this document are defined below and other words are defined in
Sections 3, 11, 13, 18, 20 and 21. Certain rules regarding the usage of words used in this document are also provided in
Section 16.
    (A) "Security Instrument" means this document, which is dated April 27, 2021, together with all Riders to this
    document.
    (B) "Borrower" is Ronald A. Marron, Trustee of the 2013 Ronald A. Marron Trust Dated September 26, 2013 .
    Borrower's address is 3385 b St, San Diego, CA 92102. Borrower is the trustor under this Security Instrument.
    (C) "Lender" is JPMorgan Chase Bank, N.A .. Lender is a National Banking Association organized and existing
    under the laws of the United States of America. Lender's address is 1111 Polaris Parkway, Columbus, OH
    43240-2050. Lender is the beneficiary under this Security Instrument.
    (D) "Trustee" is JPMorgan Chase Bank, N.A ..
    (E) "Note" means the promissory note signed by Borrower and dated April 27, 2021. The Note states that
    Borrower owes Lender Seven hundred two thousand and 00/100 Dollars (U.S. $702,000.00) plus interest. Borrower
    has promised to pay this debt in regular Periodic Payments and to pay the debt in full not later than May 1, 2051.
    (F) "Property" means the property that is described below under the heading "Transfer of Rights in the Property."
    (G) "Loan" means the debt evidenced by the Note, plus interest, any prepayment charges and late charges due
    under the Note, and all sums due under this Security Instrument, plus interest.
    (H) "Riders" means all Riders to this Security Instrument that are executed by Borrower. The following Riders are
    to be executed by Borrower [check box as applicable]:
          □ Adjustable Rate Rider                      □    Condominium Rider              D Second Home Rider
          □ Balloon Rider                              □    Planned Unit Development Rider D 1-4 Family Rider
          D VA Rider                                   □    Biweekly Payment Rider         ~ Other(s) [specify]
                                                                                             Trust Rider



CALIFORNIA-Single Family-Fannie Mae/Freddie Mac UNIFORM INSTRUMENT
Wolters Kluwer Financial Services, Inc.
                                                                2021042721.1.0.3543-J20210222Y
  Case 3:24-cv-01569-JES-AHG                                 Document 1-3                  Filed 09/04/24   PageID.73                  Page 23
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    (I) "Applicable Law" means all controlling applicable federal, state and local statutes, regulations, ordinances and
    administrative rules and orders (that have the effect of law) as well as all applicable final, non-appealable judicial
    opinions.
    (J) "Community Association Dues, Fees, and Assessments" means all dues, fees, assessments and other charges
    that are imposed on Borrower or the Property by a condominium association, homeowners association or similar
    organization.
    (K) "Electronic Funds Transfer" means any transfer of funds, other than a transaction originated by check, draft,
    or similar paper instrument, which is initiated through an electronic terminal, telephonic instrument, computer, or
    magnetic tape so as to order, instruct, or authorize a financial institution to debit or credit an account. Such term
    includes, but is not limited to, point-of-sale transfers, automated teller machine transactions, transfers initiated by
    telephone, wire transfers, and automated clearinghouse transfers.
    (L) "Escrow Items" means those items that are described in Section 3.
    (M) "Miscellaneous Proceeds" means any compensation, settlement, award of damages, or proceeds paid by any
    third party (other than insurance proceeds paid under the coverages described in Section 5) for: (i) damage to, or
    destruction of, the Property; (ii) condemnation or other taking of all or any part of the Property; (iii) conveyance in
    lieu of condemnation; or (iv) misrepresentations of, or omissions as to, the value and/or condition of the Property.
    (N) "Mortgage Insurance" means insurance protecting Lender against the nonpayment of, or default on, the Loan.
    (0) "Periodic Payment" means the regularly scheduled amount due for (i) principal and interest under the Note,
    plus (ii) any amounts under Section 3 of this Security Instrument.
    (P) "RESPA" means the Real Estate Settlement Procedures Act (12 U.S.C. Section 2601 et seq.) and its
    implementing regulation, Regulation X (12 C.F.R. Part 1024), as they might be amended from time to time, or
    any additional or successor legislation or regulation that governs the same subject matter. As used in this Security .
    Instrument, RESPA refers to all requirements and restrictions that are imposed in regard to a "federally related
    mortgage loan" even if the Loan does not qualify as a "federally related mortgage loan" under RESPA.
    (Q) "Successor in Interest of Borrower" means any party that has taken title to the Property, whether or not that
    party has assumed Borrower's obligations under the Note and/or this Security Instrument.
Transfer of Rights in the Property. This Security Instrument secures to Lender: (i) the repayment of the Loan,
and all renewals, extensions and modifications of the Note; and (ii) the performance of Borrower's covenants and
agreements under this Security Instrument and the Note. For this purpose, Borrower irrevocably grants and conveys
to Trustee, in trust, with power of sale, the following described property located in the County [Type of Recording
Jurisdiction] of San Diego [Name of Recording Jurisdiction] See Legal Description
Parcel ID Number: 539-571-09-00 which currently has the address of3385 b Street [Street] San Diego [City],
California 92102 [Zip Code] ("Property Address"):
TOGETHER WITH all the improvements now or hereafter erected on the property, and all easements, appurtenances,
and fixtures now or hereafter a part of the property. All replacements and additions shall also be covered by this
Security Instrument. All of the foregoing is referred to in this Security Instrument as the "Property."
BORROWER COVENANTS that Borrower is lawfully seised of the estate hereby conveyed and has the right
to grant and convey the Property and that the Property is unencumbered, except for encumbrances of record.
Borrower warrants and will defend generally the title to the Property against all claims and demands, subject to any
encumbrances of record.
THIS SECURITY INSTRUMENT combines uniform covenants for national use and non-uniform covenants with
limited variations by jurisdiction to constitute a uniform security instrument covering real property.


                                                                                                                                            1389789707
CALIFORNIA-Single Family-Fannie Mae/Freddie Mac UNIFORM INSTRUMENT                                                                .4.,,A_ form 3005 1/01
Wolters Kluwer Financial Services, Inc.
                                                                2021042721.1.0.3543-J20210222Y                             fi    ,V rv"
                                                                                                                Initials:.......____
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  Case 3:24-cv-01569-JES-AHG                                Document 1-3                 Filed 09/04/24   PageID.74             Page 24
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Uniform Covenants. Borrower and Lender covenant and agree as follows:
1. Payment of Principal, Interest, Escrow Items, Prepayment Charges, and Late Charges. Borrower
shall pay when due the principal of, and interest on, the debt evidenced by the Note and any prepayment charges and
late charges due under the Note. Borrower shall also pay funds for Escrow Items pursuant to Section 3. Payments due
under the Note and this Security Instrument shall be made in U.S. currency. However, if any check or other instrument
received by Lender as payment under the Note or this Security Instrument is returned to Lender unpaid, Lender may
require that any or all subsequent payments due under the Note and this Security Instrument be made in one or more
of the following forms, as selected by Lender: (a) cash; (b) money order; (c) certified check, bank check, treasurer's
check or cashier's check, provided any such check is drawn upon an institution whose deposits are insured by a federal
agency, instrumentality, or entity; or (d) Electronic Funds Transfer.
Payments are deemed received by Lender when received at the location designated in the Note or at such other location
as may be designated by Lender in accordance with the notice provisions in Section 15. Lender may return any
payment or partial payment if the payment or partial payments are insufficient to bring the Loan current. Lender may
accept any payment or partial payment insufficient to bring the Loan current, without waiver of any rights hereunder
or prejudice to its rights to refuse such payment or partial payments in the future, but Lender is not obligated to apply
such payments at the time such payments are accepted. If each Periodic Payment is applied as of its scheduled due
date, then Lender need not pay interest on unapplied funds. Lender may hold such unapplied funds until Borrower
makes payment to bring the Loan current. If Borrower does not do so within a reasonable period of time, Lender shall
either apply such funds or return them to Borrower. If not applied earlier, such funds will be applied to the outstanding
principal balance under the Note immediately prior to foreclosure. No offset or claim which Borrower might have now
or in the future against Lender shall relieve Borrower from making payments due under the Note and this Security
Instrument or performing the covenants and agreements secured by this Security Instrument.
2. Application of Payments or Proceeds. Except as otherwise described in this Section 2, all payments accepted
and applied by Lender shall be applied in the following order of priority: (a) interest due under the Note; (b) principal
due under the Note; (c) amounts due under Section 3. Such payments shall be applied to each Periodic Payment in
the order in which it became due. Any remaining amounts shall be applied first to late charges, second to any other
amounts due under this Security Instrument, and then to reduce the principal balance of the Note.
If Lender receives a payment from Borrower for a delinquent Periodic Payment which includes a sufficient amount
to pay any late charge due, the payment may be applied to the delinquent payment and the late charge. If more than
one Periodic Payment is outstanding, Lender may apply any payment received from Borrower to the repayment of the
Periodic Payments if, and to the extent that, each payment can be paid in full. To the extent that any excess exists after
the payment is applied to the full payment of one or more Periodic Payments, such excess may be applied to any late
charges due. Voluntary prepayments shall be applied first to any prepayment charges and then as described in the Note.
Any application of payments, insurance proceeds, or Miscellaneous Proceeds to principal due under the Note shall not
extend or postpone the due date, or change the amoun~, of the Periodic Payments.
3. Funds for Escrow Items. Borrower shall pay to Lender on the day Periodic Payments are due under the Note,
until the Note is paid in full, a sum (the "Funds") to provide for payment of amounts due for: (a) taxes and assessments
and other items which can attain priority over this Security Instrument as a lien or encumbrance on the Property; (b)
leasehold payments or ground rents on the Property, if any; (c) premiums for any and all insurance required by Lender
under Section 5; and (d) Mortgage Insurance premiums, if any, or any sums payable by Borrower to Lender in lieu
of the payment of Mortgage Insurance premiums in accordance with the provisions of Section 10. These items are
called "Escrow Items." At origination or at any time during the term of the Loan, Lender may require that Community
Association Dues, Fees, and Assessments, if any, be escrowed by Borrower, and such dues, fees and assessments shall
be an Escrow Item. Borrower shall promptly furnish to Lender all notices of amounts to be paid under this Section.
Borrower shall pay Lender the Funds for Escrow Items unless Lender waives Borrower's obligation to pay the Funds
for any or all Escrow Items. Lender may waive Borrower's obligation to pay to Lender Funds for any or all Escrow

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CALIFORNIA-Single Family-Fannie Mae/Freddie Mac UNIFORM INSTRUMENT
Wolters Kluwer Financial Services, Inc.
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ltems at any time. Any such waiver may only be in writing. In the event of such waiver, Borrower shall pay directly,
when and where payable, the amounts due for any Escrow Items for which payment of Funds has been waived by
Lender and, if Lender requires, shall furnish to Lender receipts evidencing such payment within such time period as
Lender may require. Borrower's obligation to make such payments and to provide receipts shall for all purposes be
deemed to be a covenant and agreement contained in this Security Instrument, as the phrase "covenant and agreement"
is used in Section 9. If Borrower is obligated to pay Escrow Items directly, pursuant to a waiver, and Borrower fails
to pay the amount due for an Escrow Item, Lender may exercise its rights under Section 9 and pay such amount and
Borrower shall then be obligated under Section 9 to repay to Lender any such amount. Lender may revoke the waiver
as to any or all Escrow Items at any time by a notice given in accordance with Section 15 and, upon such revocation,
Borrower shall pay to Lender all Funds, and in such amounts, that are then required under this Section 3.
Lender may, at any time, collect and hold Funds in an amount (a) sufficient to permit Lender to apply the Funds at the
time specified under RESPA, and (b) not to exceed the maximum amount a lender can require under RESPA. Lender
shall estimate the amount of Funds due on the basis of current data and reasonable estimates of expenditures of future
Escrow Items or otherwise in accordance with Applicable Law.
The Funds shall be held in an institution whose deposits are insured by a federal agency, instrumentality, or entity
(including Lender, if Lender is an institution whose deposits are so insured) or in any Federal Home Loan Bank.
Lender shall apply the Funds to pay the Escrow Items no later than the time specified under RESPA. Lender shall not
charge Borrower for holding and applying the Funds, annually analyzing the escrow account, or verifying the Escrow
Items, unless Lender pays Borrower interest on the Funds and Applicable Law permits Lender to make such a charge.
Unless an agreement is made in writing or Applicable Law requires interest to be paid on the Funds, Lender shall
not be required to pay Borrower any interest or earnings on the Funds. Borrower and Lender can agree in writing,
however, that interest shall be paid on the Funds. Lender shall give to Borrower, without charge, an annual accounting
of the Funds as required by RESPA.
If there is a surplus of Funds held in escrow, as defined under RESPA, Lender shall account to Borrower for the excess
funds in accordance with RESPA. If there is a shortage of Funds held in escrow, as defined under RESPA, Lender
shall notify Borrower as required by RESPA, and Borrower shall pay to Lender the amount necessary to make up the
shortage in accordance with RESPA, but in no more than 12 monthly payments. If there is a deficiency of Funds held
in escrow, as defined under RESPA, Lender shall notify Borrower as required by RESPA, and Borrower shall pay to
Lender the amount necessary to make up the deficiency in accordance with RESPA, but in no more than 12 monthly
payments.
Upon payment in full of all sums secured by this Security Instrument, Lender shall promptly refund to Borrower any
Funds held by Lender.
4. Charges; Liens. Borrower shall pay all taxes, assessments, charges, fines, and impositions attributable to the
Property which can attain priority over this Security Instrument, leasehold payments or ground rents on the Property, if
any, and Community Association Dues, Fees, and Assessments, if any. To the extent that these items are Escrow Items,
Borrower shall pay them in the manner provided in Section 3.
Borrower shall promptly discharge any lien which has priority over this Security Instrument unless Borrower: (a)
agrees in writing to the payment of the obligation secured by the lien in a manner acceptable to Lender, but only so
long as Borrower is performing such agreement; (b) contests the lien in good faith by, or defends against enforcement
of the lien in, legal proceedings which in Lender's opinion operate to prevent the enforcement of the lien while those
proceedings are pending, but only until such proceedings are concluded; or (c) secures from the holder of the lien an
agreement satisfactory to Lender subordinating the lien to this Security Instrument. If Lender determines that any part
of the Property is subject to a lien which can attain priority over this Security Instrument, Lender may give Borrower
a notice identifying the lien. Within 10 days of the date on which that notice is given, Borrower shall satisfy the lien or
take one or more of the actions set forth above in this Section 4.



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CALIFORNIA-Single Family-Fannie Mae/Freddie Mac UNIFORM INSTRUMENT                                                           fl   di~ _ Form 3005 1/01
Wolters Kluwer Financial Services, Inc.                                                                                      I L. ,rvv           02/21




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Lender may require Borrower to pay a one-time charge for a real estate tax verification and/or reporting service used
by Lender in connection with this Loan.
5. Property Insurance. Borrower shall keep the improvements now existing or hereafter erected on the Property
insured against loss by fire, hazards included within the term "extended coverage," and any other hazards including,
but not limited to, earthquakes and-floods, for which Lender requires insurance. This insurance shall be maintained in
the amounts (including deductible levels) and for the periods that Lender requires. What Lender requires pursuant to
the preceding sentences can change during the term of the Loan. The insurance carrier providing the insurance shall
be chosen by Borrower subject to Lender's right to disapprove Borrower's choice, which right shall not be exercised
unreasonably. Lender may require Borrower to pay, in connection with this Loan, either: (a) a one-time charge for
flood zone determination, certification and tracking services; or (b) a one-time charge for flood zone determination and
certification services and subsequent charges each time remappings or similar changes occur which reasonably might
affect such determination or certification. Borrower shall also be responsible for the payment of any fees imposed by
the Federal Emergency Management Agency in connection with the review of any flood zone determination resulting
from an objection by Borrower.
If Borrower fails to maintain any of the coverages described above, Lender may obtain insurance coverage, at Lender's
option and Borrower's expense. Lender is under no obligation to purchase any particular type or amount of coverage.
Therefore, such coverage shall cover Lender, but might or might not protect Borrower, Borrower's equity in the
Property, or the contents of the Property, against any risk, hazard or liability and might provide greater or lesser
coverage than was previously in effect. Borrower acknowledges that the cost of the insurance coverage so obtained
might significantly exceed the cost of insurance that Borrower could have obtained. Any amounts disbursed by Lender
under this Section 5 shall become additional debt of Borrower secured by this Security Instrument. These amounts
shall bear interest at the Note rate from the date of disbursement and shall be payable, with such interest, upon notice
from Lender to Borrower requesting payment.
All insurance policies required by Lender and renewals of such policies shall be subject to Lender's right to disapprove
such policies, shall include a standard mortgage clause, and shall name Lender as mortgagee and/or as an additional
loss payee and Borrower further agrees to generally assign rights to insurance proceeds to the holder of the Note up to
the amount of the outstanding loan balance. Lender shall have the right to hold the policies and renewal certificates.
If Lender requires, Borrower shall promptly give to Lender all receipts of paid premiums and renewal notices. If
Borrower obtains any form of insurance coverage, not otherwise required by Lender, for damage to, or destruction of,
the Property, such policy shall include a standard mortgage clause and shall name Lender as mortgagee and/or as an
additional loss payee and Borrower further agrees to generally assign rights to insurance proceeds to the holder of the
Note up to the amount of the outstanding loan balance.
In the event of loss, Borrower shall give prompt notice to the insurance carrier and Lender. Lender may make proof
of loss if not made promptly by Borrower. Unless Lender and Borrower otherwise agree in writing, any insurance
proceeds, whether or not the underlying insurance was required by Lender, shall be applied to restoration or repair of
the Property, if the restoration or repair is economically feasible and Lender's security is not lessened. During such
repair and restoration period, Lender shall have the right to hold such insurance proceeds until Lender has had an
opportunity to inspect such Property to ensure the work has been completed to Lender's satisfaction, provided that
such inspection shall be undertaken promptly. Lender may disburse proceeds for the repairs and restoration in a single
payment or in a series of progress payments as the work is completed. Unless an agreement is made in writing or
Applicable Law requires interest to be paid on such insurance proceeds, Lender shall not be required to pay Borrower
any interest or earnings on such proceeds. Fees for public adjusters, or other third parties, retained by Borrower shall
not be paid out of the insurance proceeds and shall be the sole obligation of Borrower. If the restoration or repair is
not economically feasible or Lender's security would be lessened, the insurance proceeds shall be applied to the sums
secured by this Security Instrument, whether or not then due, with the excess, if any, paid to Borrower. Such insurance
proceeds shall be applied in the order provided for in Section 2.



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CALIFORNIA-Single Family-Fannie Mae/Freddie Mac UNIFORM INSTRUMENT                                                                    Fonn 3005 1/01
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if Borrower abandons the Property, Lender may file, negotiate and settle any available insurance claim and related
matters. If Borrower does not respond within 30 days to a notice from Lender that the insurance carrier has offered
to settle a claim, then Lender may negotiate and settle the claim. The 30-day period will begin when the notice is
given. In either event, or if Lender acquires the Property under Section 22 or otherwise, Borrower hereby assigns
to Lender (a) Borrower's rights to any insurance proceeds in an amount not to exceed the amounts unpaid under the
Note or this Security Instrument, and (b) any other of Borrower's rights (other than the right to any refund of unearned
premiums paid by Borrower) under all insurance policies covering the Property, insofar as such rights are applicable to
the coverage of the Property. Lender may use the insurance proceeds either to repair or restore the Property or to pay
amounts unpaid under the Note or this Security Instrument, whether or not then due.
6. Occupancy. Borrower shall occupy, establish, and use the Property as Borrower's principal residence within 60
days after the execution of this Security Instrument and shall continue to occupy the Property as Borrower's principal
residence for at least one year after the date of occupancy, unless Lender otherwise agrees in writing, which consent
shall not be unreasonably withheld, or unless extenuating circumstances exist which are beyond Borrower's control.
7. Preservation, Maintenance and Protection of the Property; Inspections. Borrower shall not destroy,
damage or impair the Property, allow the Property to deteriorate or commit waste on the Property. Whether or not
Borrower is residing in the Property, Borrower shall maintain the Property in order to prevent the Property from
deteriorating or decreasing in value due to its condition. Unless it is determined pursuant to Section 5 that repair or
restoration is not economically feasible, Borrower shall promptly repair the Property if damaged to avoid further
deterioration or damage. If insurance or condemnation proceeds are paid in connection with damage to, or the taking
of, the Property, Borrower shall be responsible for repairing or restoring the Property only if Lender has released
proceeds for such purposes. Lender may disburse proceeds for the repairs and restoration in a single payment or in a
series of progress payments as the work is completed. If the insurance or condemnation proceeds are not sufficient to
repair or restore the Property, Borrower is not relieved of Borrower's obligation for the completion of such repair or
restoration.
Lender or its agent may make reasonable entries upon and inspections of the Property. If it has reasonable cause,
Lender may inspect the interior of the improvements on the Property. Lender shall give Borrower notice at the time of
or prior to such an interior inspection specifying such reasonable cause.
8. Borrower's Loan Application. Borrower shall be in default if, during the Loan application process, Borrower
or any persons or entities acting at the direction of Borrower or with Borrower's knowledge or consent gave materially
false, misleading, or inaccurate information or statements to Lender ( or failed to provide Lender with material
information) in connection with the Loan. Material representations include, but are not limited to, representations
concerning Borrower's occupancy of the Property as Borrower's principal residence.
9. Protection of Lender's Interest in the Property and Rights Under this Security Instrument. If (a)
Borrower fails to perform the covenants and agreements contained in this Security Instrument, (b) there is a legal
proceeding that might significantly affect Lender's interest in the Property and/or rights under this Security Instrument
(such as a proceeding in bankruptcy, probate, for condemnation or forfeiture, for enforcement of a lien which may
attain priority over this Security Instrument or to enforce laws or regulations), or (c) Borrower has abandoned the
Property, then Lender may do and pay for whatever is reasonable or appropriate to protect Lender's interest in the
Property and rights under this Security Instrument, including protecting and/or assessing the value of the Property,
and securing and/or repairing the Property. Lender's actions can include, but are not limited to: (a) paying any sums
secured by a lien which has priority over this Security Instrument; (b) appearing in court; and (c) paying reasonable
attorneys' fees to protect its interest in the Property and/or rights under this Security Instrument, including its secured
position in a bankruptcy proceeding. Securing the Property includes, but is not limited to, entering the Property to
make repairs, change locks, replace or board up doors and windows, drain water from pipes, eliminate building or
other code violations or dangerous conditions, and have utilities turned on or off. Although Lender may take action
under this Section 9, Lender does not have to do so and is not under any duty or obligation to do so. It is agreed that
Lender incurs no liability for not taking any or all actions authorized under this Section 9.

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Any amounts disbursed by Lender under this Section 9 shall become additional debt of Borrower secured by this
Security Instrument. These amounts shall bear interest at the Note rate from the date of disbursement and shall be
payable, with such interest, upon notice from Lender to Borrower requesting payment.
If this Security Instrument is on a leasehold, Borrower shall comply with all the provisions of the lease. If Borrower
acquires fee title to the Property, the leasehold and the fee title shall not merge unless Lender agrees to the merger in
writing.
10. Mortgage Insurance. If Lender required Mortgage Insurance as a condition of making the Loan, Borrower shall
pay the premiums required to maintain the Mortgage Insurance in effect. If, for any reason, the Mortgage Insurance
coverage required by Lender ceases to be available from the mortgage insurer that previously provided such insurance
and Borrower was required to make separately designated payments toward the premiums for Mortgage Insurance,
Borrower shall pay the premiums required to obtain coverage substantially equivalent to the Mortgage Insurance
previously in effect, at a cost substantially equivalent to the cost to Borrower of the Mortgage Insurance previously in
effect, from an alternate mortgage insurer selected by Lender. If substantially equivalent Mortgage Insurance coverage
is not available, Borrower shall continue to pay to Lender the amount of the separately designated payments that were
due when the insurance coverage ceased to be in effect. Lender will accept, use and retain these payments as a non-
refundable loss reserve in lieu of Mortgage Insurance. Such loss reserve shall be non-refundable, notwithstanding the
fact that the Loan is ultimately paid in full, and Lender shall not be required to pay Borrower any interest or earnings
on such loss reserve. Lender can no longer require loss reserve payments if Mortgage Insurance coverage (in the
amount and for the period that Lender requires) provided by an insurer selected by Lender again becomes available,
is obtained, and Lender requires separately designated payments toward the premiums for Mortgage Insurance. If
Lender required Mortgage Insurance as a condition of making the Loan and Borrower was required to make separately
designated payments toward the premiums for Mortgage Insurance, Borrower shall pay the premiums required to
maintain Mortgage Insurance in effect, or to provide a non-refundable loss reserve, until Lender's requirement for
Mortgage Insurance ends in accordance with any written agreement between Borrower and Lender providing for
such termination or until termination is required by Applicable Law. Nothing in this Section 10 affects Borrower's
obligation to pay interest at the rate provided in the Note.
Mortgage Insurance reimburses Lender (or any entity that purchases the Note) for certain losses it may incur if
Borrower does not repay the Loan as agreed. Borrower is not a party to the Mortgage Insurance.
Mortgage insurers evaluate their total risk on all such insurance in force from time to time, and may enter into
agreements with other parties that share or modify their risk, or reduce losses. These agreements are on terms and
conditions that are satisfactory to the mortgage insurer and the other party (or parties) to these agreements. These
agreements may require the mortgage insurer to make payments using any source of funds that the mortgage insurer
may have available (which may include funds obtained from Mortgage Insurance premiums).
As a result of these agreements, Lender, any purchaser of the Note, another insurer, any reinsurer, any other entity,
or any affiliate of any of the foregoing, may receive ( directly or indirectly) amounts that derive from (or might be
characterized as) a portion of Borrower's payments for Mortgage Insurance, in exchange for sharing or modifying the
mortgage insurer's risk, or reducing losses. If such agreement provides that an affiliate of Lender takes a share of the
insurer's risk in exchange for a share of the premiums paid to the insurer, the arrangement is often termed "captive
reinsurance." Further:
(A) Any such agreements will not affect the amounts that Borrower has agreed to pay for Mortgage Insurance,
or any other terms of the Loan. Such agreements will not increase the amount Borrower will owe for Mortgage
Insurance, and they will not entitle Borrower to any refund.
(B) Any such agreements will not affect the rights Borrower has - if any - with respect to the Mortgage
Insurance under the Homeowners Protection Act of 1998 or any other law. These rights may include the right to
receive certain disclosures, to request and obtain cancellation of the Mortgage Insurance, to have the Mortgage



CALIFORNIA-SingleFamily-Fannie Mae/Freddie Mac UNIFORM INSTRUMENT
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insurance terminated automatically, and/or to receive a refund of any Mortgage Insurance premiums that were
unearned at the time of such cancellation or termination.
11. Assignment of Miscellaneous Proceeds; Forfeiture. All Miscellaneous Proceeds are hereby assigned to
and shall be paid to Lender.
If the Property is damaged, such Miscellaneous Proceeds shall be applied to restoration or repair of the Property, if the
restoration or repair is economically feasible and Lender's security is not lessened. During such repair and restoration
period, Lender shall have the right to hold such Miscellaneous Proceeds until Lender has had an opportunity to inspect
such Property to ensure the work has been completed to Lender's satisfaction, provided that such inspection shall be
undertaken promptly. Lender may pay for the repairs and restoration in a single disbursement or in a series of progress
payments as the work is completed. Unless an agreement is made in writing or Applicable Law requires interest to
be paid on such Miscellaneous Proceeds, Lender shall not be required to pay Borrower any interest or earnings on
such Miscellaneous Proceeds. If the restoration or repair is not economically feasible or Lender's security would be
lessened, the Miscellaneous Proceeds shall be applied to the sums secured by this Security Instrument, whether or not
then due, with the excess, if any, paid to Borrower. Such Miscellaneous Proceeds shall be applied in the order provided
for in Section 2.
In the event of a total taking, destruction, or loss in value of the Property, the Miscellaneous Proceeds shall be applied
to the sums secured by this Security Instrument, whether or not then due, with the excess, if any, paid to Borrower.
In the event of a partial taking, destruction, or loss in value of the Property in which the fair market value of the
Property immediately before the partial taking, destruction, or loss in value is equal to or greater than the amount of
the sums secured by this Security Instrument immediately before the partial taking, destruction, or loss in value, unless
Borrower and Lender otherwise agree in writing, the sums secured by this Security Instrument shall be reduced by the
amount of the Miscellaneous Proceeds multiplied by the following fraction: (a) the total amount of the sums secured
immediately before the partial taking, destruction, or loss in value divided by (b) the fair market value of the Property
immediately before the partial taking, destruction, or loss in value. Any balance shall be paid to Borrower.
In the event of a partial taking, destruction, or loss in value of the Property in which the fair market value of the
Property immediately before the partial taking, destruction, or loss in value is less than the amount of the sums secured
immediately before the partial taking, destruction, or loss in value, unless Borrower and Lender otherwise agree in
writing, the Miscellaneous Proceeds shall be applied to the sums secured by this Security Instrument whether or not the
sums are then due.
If the Property is abandoned by Borrower, or if, after notice by Lender to Borrower that the Opposing Party (as defined
in the next sentence) offers to make an award to settle a claim for damages, Borrower fails to respond to Lender
within 30 days after the date the notice is given, Lender is authorized to collect and apply the Miscellaneous Proceeds
either to restoration or repair of the Property or to the sums secured by this Security Instrument, whether or not then
due. "Opposing Party" means the third party that owes Borrower Miscellaneous Proceeds or the party against whom
Borrower has a right of action in regard to Miscellaneous Proceeds.
Borrower shall be in default if any action or proceeding, whether civil or criminal, is begun that, in Lender's judgment,
could result in forfeiture of the Property or other material impairment of Lender's interest in the Property or rights
under this Security Instrument. Borrower can cure such a default and, if acceleration has occurred, reinstate as
provided in Section 19, by causing the action or proceeding to be dismissed with a ruling that, in Lender's judgment,
precludes forfeiture of the Property or other material impairment of Lender's interest in the Property or rights under
this Security Instrument. The proceeds of any award or claim for damages that are attributable to the impairment of
Lender's interest in the Property are hereby assigned and shall be paid to Lender.
All Miscellaneous Proceeds that are not applied to restoration or repair of the Property shall be applied in the order
provided for in Section 2.



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CALIFORNIA-SingleFamily-FannieMae/Freddie Mac UNIFORM INSTRUMENT                                                                   Form 3005 1/01
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12. Borrower Not Released; Forbearance By Lender Not a Waiver. Extension of the time for payment or
modification of amortization of the sums secured by this Security Instrument granted by Lender to Borrower or any
Successor in Interest of Borrower shall not operate to release the liability of Borrower or any Successors in Interest of
Borrower. Lender shall not be required to commence proceedings against any Successor in Interest of Borrower or to
refuse to extend time for payment or otherwise modify amortization of the sums secured by this Security Instrument
by reason of any demand made by the original Borrower or any Successors in Interest of Borrower. Any forbearance
by Lender in exercising any right or remedy including, without limitation, Lender's acceptance of payments from third
persons, entities or Successors in Interest of Borrower or in amounts less than the amount then due, shall not be a
waiver of or preclude the exercise of any right or remedy.
13. Joint and Several Liability; Co-signers; Successors and Assigns Bound. Borrower covenants and
agrees that Borrower's obligations and liability shall be joint and several. However, any Borrower who co-signs this
Security Instrument but does not execute the Note (a "co-signer"): (a) is co-signing this Security Instrument only to
mortgage, grant and convey the co-signer's interest in the Property under the terms of this Security Instrument; (b) is
not personally obligated to pay the sums secured by this Security Instrument; and (c) agrees that Lender and any other
Borrower can agree to extend, modify, forbear or make any accommodations with regard to the terms of this Security
Instrument or the Note without the co-signer's consent.
Subject to the provisions of Section 18, any Successor in Interest of Borrower who assumes Borrower's obligations
under this Security Instrument in writing, and is approved by Lender, shall obtain all of Borrower's rights and benefits
under this Security Instrument. Borrower shall not be released from Borrower's obligations and liability under this
Security Instrument unless Lender agrees to such release in writing. The covenants and agreements of this Security
Instrument shall bind (except as provided in Section 20) and benefit the successors and assigns of Lender.
14. Loan Charges. Lender may charge Borrower fees for services performed in connection with Borrower's default,
for the purpose of protecting Lender's interest in the Property and rights under this Security Instrument, including,
but not limited to, attorneys' fees, property inspection and valuation fees. In regard to any other fees, the absence of
express authority in this Security Instrument to charge a specific fee to Borrower shall not be construed as a prohibition
on the charging of such fee. Lender may not charge fees that are expressly prohibited by this Security Instrument or by
Applicable Law.
If the Loan is subject to a law which sets maximum loan charges, and that law is finally interpreted so that the interest
or other loan charges collected or to be collected in connection with the Loan exceed the permitted limits, then: (a)
any such loan charge shall be reduced by the amount necessary to reduce the charge to the permitted limit; and (b) any
sums already collected from Borrower which exceeded permitted limits will be refunded to Borrower. Lender may
choose to make this refund by reducing the principal owed under the Note or by making a direct payment to Borrower.
If a refund reduces principal, the reduction will be treated as a partial prepayment without any prepayment charge
(whether or not a prepayment charge is provided for under the Note). Borrower's acceptance of any such refund made
by direct payment to Borrower will constitute a waiver of any right of action Borrower might have arising out of such
overcharge.
15. Notices. All notices given by Borrower or Lender in connection with this Security Instrument must be in writing.
Any notice to Borrower in connection with this Security Instrument shall be deemed to have been given to Borrower
when mailed by first class mail or when actually delivered to Borrower's notice address if sent by other means. Notice
to any one Borrower shall constitute notice to all Borrowers unless Applicable Law expressly requires otherwise. The
notice address shall be the Property Address unless Borrower has designated a substitute notice address by notice to
Lender. Borrower shall promptly notify Lender of Borrower's change of address. If Lender specifies a procedure for
reporting Borrower's change of address, then Borrower shall only report a change of address through that specified
procedure. There may be only one designated notice address under this Security Instrument at any one time. Any
notice to Lender shall be given by delivering it or by mailing it by first class mail to Lender's address stated herein
unless Lender has designated another address by notice to Borrower. Any notice in connection with this Security


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CALIFORNIA-SingleFamily-FannieMae/Freddie Mac UNIFORM INSTRUMENT                                                                        Form 30051/01
Wolters Kluwer Financial Services, Inc.                                                                                 /J ,A.                  02121
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  Case 3:24-cv-01569-JES-AHG                             Document 1-3                Filed 09/04/24   PageID.81          Page 31
                                                               of 55


instrument shall not be deemed to have been given to Lender until actually received by Lender. If any notice required
by this Security Instrument is also required under Applicable Law, the Applicable Law requirement will satisfy the
corresponding requirement under this Security Instrument.
16. Governing Law; Severability; Rules of Construction. This Security Instrument shall be governed by
federal law and the law of the jurisdiction in which the Property is located. All rights and obligations contained
in this Security Instrument are subject to any requirements and limitations of Applicable Law. Applicable Law
might explicitly or implicitly allow the parties to agree by contract or it might be silent, but such silence shall not be
construed as a prohibition against agreement by contract. In the event that any provision or clause of this Security
Instrument or the Note conflicts with Applicable Law, such conflict shall not affect other provisions of this Security
Instrument or the Note which can be given effect without the conflicting provision.
As used in this Security Instrument: (a) words of the masculine gender shall mean and include corresponding neuter
words or words of the feminine gender; (b) words in the singular shall mean and include the plural and vice versa; and
(c) the word "may" gives sole discretion without any obligation to take any action.
17. Borrower's Copy. Borrower shall be given one copy of the Note and of this Security Instrument.
18. Transfer of the Property or a Beneficial Interest in Borrower. As used in this Section 18, "Interest in the
Property" means any legal or beneficial interest in the Property, including, but not limited to, those beneficial interests
transferred in a bond for deed, contract for deed, installment sales contract or escrow agreement, the intent of which is
the transfer of title by Borrower at a future date to a purchaser.
If all or any part of the Property or any Interest in the Property is sold or transferred (or if Borrower is not a natural
person and a beneficial interest in Borrower is sold or transferred) without Lender's prior written consent, Lender may
require immediate payment in full of all sums secured by this Security Instrument. However, this option shall not be
exercised by Lender if such exercise is prohibited by Applicable Law.
If Lender exercises this option, Lender shall give Borrower notice of acceleration. The notice shall provide a period of
not less than 30 days from the date the notice is given in accordance with Section 15 within which Borrower must pay
all sums secured by this Security Instrument. If Borrower fails to pay these sums prior to the expiration of this period,
Lender may invoke any remedies permitted by this Security Instrument without further notice or demand on Borrower.
 19. Borrower's Right to Reinstate After Acceleration. If Borrower meets certain conditions, Borrower shall
 have the right to have enforcement of this Security Instrument discontinued at any time prior to the earliest of: (a)
 five days before sale of the Property pursuant to any power of sale contained in this Security Instrument; (b) such
 other period as Applicable Law might specify for the termination of Borrower's right to reinstate; or (c) entry of a
judgment enforcing this Security Instrument. Those conditions are that Borrower: (a) pays Lender all sums which then
would be due under this Security Instrument and the Note as if no acceleration had occurred; (b) cures any default of
 any other covenants or agreements; (c) pays all expenses incurred in enforcing this Security Instrument, including,
but not limited to, reasonable attorneys' fees, property inspection and valuation fees, and other fees incurred for the
purpose of protecting Lender's interest in the Property and rights under this Security Instrument; and (d) takes such
action as Lender may reasonably require to assure that Lender's interest in the Property and rights under this Security
 Instrument, and Borrower's obligation to pay the sums secured by this Security Instrument, shall continue unchanged.
Lender may require that Borrower pay such reinstatement sums and expenses in one or more of the following forms,
as selected by Lender: (a) cash; (b) money order; (c) certified check, bank check, treasurer's check or cashier's check,
provided any such check is drawn upon an institution whose deposits are insured by a federal agency, instrumentality
or entity; or (d) Electronic Funds Transfer. Upon reinstatement by Borrower, this Security Instrument and obligations
secured hereby shall remain fully effective as if no acceleration had occurred. However, this right to reinstate shall not
apply in the case of acceleration under Section 18.
20. Sale of Note; Change of Loan Servicer; Notice of Grievance. The Note or a partial interest in the Note
(together with this Security Instrument) can be sold one or more times without prior notice to Borrower. A sale might


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CALIFORNIA-SingleFamily-FannieMae/FreddieMac UNIFORMINSTRUMENT                                                                  Form 3005 1/01
Wolters Kluwer FinancialServices, Inc.                                                                               LJIA.              02/21
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  Case 3:24-cv-01569-JES-AHG                                  Document 1-3                  Filed 09/04/24   PageID.82          Page 32
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result in a change in the entity (known as the "Loan Servicer") that collects Periodic Payments due under the Note
and this Security Instrument and performs other mortgage loan servicing obligations under the Note, this Security
Instrument, and Applicable Law. There also might be one or more changes of the Loan Servicer unrelated to a sale
of the Note. If there is a change of the Loan Servicer, Borrower will be given written notice of the change which will
state the name and address of the new Loan Servicer, the address to which payments should be made and any other
information RES PA requires in connection with a notice of transfer of servicing. If the Note is sold and thereafter the
Loan is serviced by a Loan Servicer other than the purchaser of the Note, the mortgage loan servicing obligations to
Borrower will remain with the Loan Servicer or be transferred to a successor Loan Servicer and are not assumed by the
Note purchaser unless otherwise provided by the Note purchaser.
Neither Borrower nor Lender may commence, join, or be joined to any judicial action (as either an individual litigant
or the member of a class) that arises from the other party's actions pursuant to this Security Instrument or that alleges
that the other party has breached any provision of, or any duty owed by reason of, this Security Instrument, until such
Borrower or Lender has notified the other party (with such notice given in compliance with the requirements of Section
15) of such alleged breach and afforded the other party hereto a reasonable period after the giving of such notice
to take corrective action. If Applicable Law provides a time period which must elapse before certain action can be
taken, that time period will be deemed to be reasonable for purposes of this paragraph. The notice of acceleration and
opportunity to cure given to Borrower pursuant to Section 22 and the notice of acceleration given to Borrower pursuant
to Section 18 shall be deemed to satisfy the notice and opportunity to take corrective action provisions of this Section
20.
21. Hazardous Substances. As used in this Section 21: (a) "Hazardous Substances" are those substances defined
as toxic or hazardous substances, pollutants, or wastes by Environmental Law and the following substances: gasoline,
kerosene, other flammable or toxic petroleum products, toxic pesticides and herbicides, volatile solvents, materials
containing asbestos or formaldehyde, and radioactive materials; (b) "Environmental Law" means federal laws
and laws of the jurisdiction where the Property is located that relate to health, safety or environmental protection;
(c) "Environmental Cleanup" includes any response action, remedial action, or removal action, as defined in
Environmental Law; and (d) an "Environmental Condition" means a condition that can cause, contribute to, or
otherwise trigger an Environmental Cleanup.
Borrower shall not cause or permit the presence, use, disposal, storage, or release of any Hazardous Substances,
or threaten to release any Hazardous Substances, on or in the Property. Borrower shall not do, nor allow anyone
else to do, anything affecting the Property (a) that is in violation of any Environmental Law, (b) which creates an
Environmental Condition, or (c) which, due to the presence, use, or release of a Hazardous Substance, creates a
condition that adversely affects the value of the Property. The preceding two sentences shall not apply to the presence,
use, or storage on the Property of small quantities of Hazardous Substances that are generally recognized to be
appropriate to normal residential uses and to maintenance of the Property (including, but not limited to, hazardous
substances in consumer products).
Borrower shall promptly give Lender written notice of (a) any investigation, claim, demand, lawsuit or other action
by any governmental or regulatory agency or private party involving the Property and any Hazardous Substance
or Environmental Law of which Borrower has actual knowledge, (b) any Environmental Condition, including but
not limited to, any spilling, leaking, discharge, release or threat ofrelease of any Hazardous Substance, and (c) any
condition caused by the presence, use or release of a Hazardous Substance which adversely affects the value of the
Property. If Borrower learns, or is notified by any governmental or regulatory authority, or any private party, that any
removal or other remediation of any Hazardous Substance affecting the Property is necessary, Borrower shall promptly
take all necessary remedial actions in accordance with Environmental Law. Nothing herein shall create any obligation
on Lender for an Environmental Cleanup.
Non-Uniform Covenants. Borrower and Lender further covenant and agree as follows:




                                                                                                                                          1389789707
CALIFORNIA-Single Family-Fannie Mae/Freddie Mac UNIFORM INSTRUMENT                                                                     Form 3005 1/01
Wolters Kluwer Financial Services, Inc.
                                                                2021042721.1.0.3543-J20210222Y                   Initials:   /l '1Jv    Page 11~~


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   Case 3:24-cv-01569-JES-AHG                              Document 1-3                 Filed 09/04/24   PageID.83              Page 33
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22. Acceleration; Remedies. Lender shall give notice to Borrower prior to acceleration following Borrower's
breach of any covenant or agreement in this Security Instrument (but not prior to acceleration under Section
18 unless Applicable Law provides otherwise). The notice shall specify: (a) the default; (b) the action required
to cure the default; (c) a date, not less than 30 days from the date the notice is given to Borrower, by which the
default must be cured; and (d) that failure to cure the default on or before the date specified in the notice may
result in acceleration of the sums secured by this Security Instrument and sale of the Property. The notice shall
further inform Borrower of the right to reinstate after acceleration and the right to bring a court action to
assert the non-existence of a default or any other defense of Borrower to acceleration and sale. If the default is
not cured on or before the date specified in the notice, Lender at its option may require immediate payment in
full of all sums secured by this Security Instrument without further demand and may invoke the pow~r of sale
and any other remedies permitted by Applicable Law. Lender shall be entitled to collect all expenses incurred in
pursuing the remedies provided in this Section 22, including, but not limited to, reasonable attorneys' fees and
costs of title evidence.
If Lender invokes the power of sale, Lender shall execute or cause Trustee to execute a written notice of the
occurrence of an event of default and of Lender's election to cause the Property to be sold. Trustee shall cause
this notice to be recorded in each county in which any part of the Property is located. Lender or Trustee shall
mail copies of the notice as prescribed by Applicable Law to Borrower and to the other persons prescribed
by Applicable Law. Trustee shall give public notice of sale to the persons and in the manner prescribed by
Applicable Law. After the time required by Applicable Law, Trustee, without demand on Borrower, shall sell
the Property at public auction to the highest bidder at the time and place and under the terms designated in
the notice of sale in one or more parcels and in any order Trustee determines. Trustee may postpone sale of all
or any parcel of the Property by public announcement at the time and place of any previously scheduled sale.
Lender or its designee may purchase the Property at any sale.
Trustee shall deliver to the purchaser Trustee's deed conveying the Property without any covenant or warranty,
expressed or implied. The recitals in the Trustee's deed shall be prima facie evidence of the truth of the
statements made therein. Trustee shall apply the proceeds of the sale in the following order: (a) to all expenses
of the sale, including, but not limited to, reasonable Trustee's and attorneys' fees; (b) to all sums secured by this
Security Instrument; and (c) any excess to the person or persons legally entitled to it.
23. Reconveyance. Upon payment of all sums secured by this Security Instrument, Lender shall request Trustee
to reconvey the Property and shall surrender this Security Instrument and all notes evidencing debt secured by this
Security Instrument to Trustee. Trustee shall reconvey the Property without warranty to the person or persons legally
entitled to it. Lender may charge such person or persons a reasonable fee for reconveying the Property, but only if the
fee is paid to a third party (such as the Trustee) for services rendered and the charging of the fee is permitted under
Applicable Law. If the fee charged does not exceed the fee set by Applicable Law, the fee is conclusively presumed to
be reasonable.
24. Substitute Trustee. Lender, at its option, may from time to time appoint a successor trustee to any Trustee
appointed hereunder by an instrument executed and acknowledged by Lender and recorded in the office of the
Recorder of the county in which the Property is located. The instrument shall contain the name of the original Lender,
Trustee and Borrower, the book and page where this Security Instrument is recorded and the name and address of the
successor trustee. Without conveyance of the Property, the successor trustee shall succeed to all the title, powers and
duties conferred upon the Trustee herein and by Applicable Law. This procedure for substitution of trustee shall govern
to the exclusion of all other provisions for substitution.
25. Statement of Obligation Fee. Lender may collect a fee not to exceed the maximum amount permitted by
Applicable Law for furnishing the statement of obligation as provided by Section 2943 of the Civil Code of California.
The undersigned Borrower requests that a copy of any Notice of Default and any Notice of Sale under this Security
Instrument be mailed to the Borrower at the address set forth above. A copy of any Notice of Default and any Notice

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CALIFORNIA-SingleFamily-FannieMae/Freddie Mac UNIFORM INSTRUMENT                                                                      Form 3005 1/01
Wolters Kluwer Financial Services, Inc.                                                                                   I)   f4.-           02/21
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   Case 3:24-cv-01569-JES-AHG                            Document 1-3                 Filed 09/04/24   PageID.84              Page 34
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of Sale will be sent only to the address contained in this recorded request. If the Borrower's address changes, a new
request must be recorded.
BY SIGNING BELOW, Borrower accepts and agrees to the terms and covenants contained in this Security Instrument
and in any Rider executed by Borrower and recorded with it.

Trustee



   ~/1.~
RONALD A. MARRON, Individually
                                                     4/2;(.ioJ/   Date
and as Trustee of the 2013 RONALD                                 Seal
A. MARRON TRUST under trust
instrument dated September 26, 2013.




                                                                                                                                   1389789707
CALIFORNIA-SingleFamily-FannieMae/FreddieMac UNIFORMINSTRUMENT                                                                  Fonn 3005 1/01
Wolters Kluwer FinancialServices.Inc.                                                                                                   02/21
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   A notary public or other officer completing this certificate verifies only the identity of the individual who signed the
   document to which this certificate is attached, and not the truthfulness, accuracy, or validity of that document.
   State of California
   County of San Diego                                 p                                '
  On    ,&Rd      :2.    7, 2oL/ beforeme, ___             ~
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                                                                             __ t_e..._-z_ _,, Notary Public,
  personally appeared


     Ronald A. Marron


  who proved to me on the basis of satisfactory evidence to be the person(s) whose name(s) is/are subscribed to
  the within instrument and acknowledged to me that he/she/they executed the same in his/her/their authorized
  capacity(ies), and that by his/her/their signature(s) on the instrument the person(s), or the entity upon behalf of
  which the person(s) acted, executed the instrument.
  I certify under PENALTY OF PERJURY under the laws of the State of California that the foregoing paragraph is
  true and correct.
  WITNESS my hand and official seal.


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  Notary Publi~
                                                                                  PAULFILIPOWICZ
                                                                             NotaryPublic- State of Idaho
                                                                            CommissionNumber20191881
                                                                          My CommissionExpiresSep 13, 2025
  My commission expires:
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Loan Origination Organization: JPMorgan Chase Bank, N.A.
NMLS ID: 399798
Loan Originator: Holmes Thompson Bennett III
NMLS ID: 693 865
    Case 3:24-cv-01569-JES-AHG                         Document 1-3               Filed 09/04/24   PageID.86   Page 36
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                                             Inter Vivos Revocable Trust Rider

 Definitions Used in this Rider.
    (A) "Revocable Trust." The 2013 RONALD A. MARRON TRUST created under trust instrument dated
    September 26, 2013.
    (B) "Revocable Trust Trustee(s)." RONALD A. MARRON, trustee(s) of the Revocable Trust.
    (C) "Revocable Trust Settlor(s)." RONALD A. MARRON, settlor(s), grantor(s), or trustor(s) of the Revocable
    Trust.
    (D) "Lender." JPMorgan Chase Bank, N.A.
    (E) "Security Instrument." The Deed of Trust and any riders thereto of the same date as this Rider given to
    secure the Note to Lender of the same date and covering the Property (as defined below).
    (F) "Property." The property described in the Security Instrument and located at:
                                                    3385 b Street, San Diego, CA 92102
                                                             [Property Address]
 THIS INTER VIVOS REVOCABLE TRUST RIDER is made April 27, 2021, and is incorporated into and shall be
 deemed to amend and supplement the Security Instrument.
 ADDITIONAL COVENANTS. In addition to the covenants and agreements made in the Security Instrument, the
 Revocable Trust Trustee(s), and the Revocable Trust Settlor(s) and the Lender further covenant and agree as follows:
       Additional Borrower(s).
       The term "Borrower" when used in the Security Instrument shall refer to the Revocable Trust Trustee(s), the
       Revocable Trust Settlor(s), and the Revocable Trust,jointly and severally. Each party signing this Rider below
       (whether by accepting and agreeing to the terms and covenants contained herein or by acknowledging all of
       the terms and covenants contained herein and agreeing to be bound thereby, or both) covenants and agrees that,
       whether or not such party is named as "Borrower" on the first page of the Security Instrument, each covenant
       and agreement and undertaking of the "Borrower" in the Security Instrument shall be such party's covenant and
       agreement and undertaking as "Borrower" and shall be enforceable by the Lender as if such party were named as
       "Borrower" in the Security Instrument.
 BY SIGNING BELOW, the Revocable Trust Trustee(s) accepts and agrees to the terms and covenants contained in this
 Inter Vivos Revocable Trust Rider.

 Trustee



                        If-~                                               I
 Ronald A. Marron, Individually and
 as Trustee of the 2013 RONALD
 A. MARRON TRUST under trust
 instrument dated September 26, 2013.




                                                                                                                   1389789707
  lnterVivos RevocableTrust Rider-CA
• © 2012 Wolters Kluwer FinancialServices, Inc.                                                                          03/20
  All rights reserved.                                  2021042721.1.0.3543-J20210222Y                             Page 1 of2




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        Case 3:24-cv-01569-JES-AHG               Document 1-3               Filed 09/04/24   PageID.87   Page 37
                                                       of 55

  .;-
 BY SIGNING BELOW, the undersigned Revocable Trust Settlor(s) acknowledges all of the terms and covenants
 contained in this Inter Vivos Revocable Trust Rider and agrees to be bound thereby.

Settlor



   /411.~                                        lf(~zL~:~r
RONALD A. MARRON
                                                         Seal




                                                                                                            1389789707
Inter Vivos RevocableTrust Rider-CA
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All rtghts reserved.                             2021042721.1.0.3543-J20210222Y                              Page 2 of 2




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Case 3:24-cv-01569-JES-AHG               Document 1-3           Filed 09/04/24         PageID.88       Page 38
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                                        EXHIBITA - LEGALDESCRIPTION

     Tax Id Number(s): 539-571-09-00


    Land situated in the City of San Diego in the County of San Diego in the State of CA

    LOTS1, 2 AND 3 BLOCK148 OF CHOATESADDITION,IN THECITYOF SANDIEGO,COUNTYOF SAN
    DIEGO,STATEOF CALIFORNIA,ACCORDINGTO MAPTHEREOFNO. 167, FILEDIN THEOFFICEOFTHE
    COUNTYRECORDER    OF SAN DIEGOCOUNTY,NOVEMBER1886.

    Commonly known as: 3385 B ST,San Diego, CA 92102-2427

    NOTE:The property address,tax parcel identification number, and property type are provided solely for
    informational purposes and are not insurable for this transaction.
                      Case 3:24-cv-01569-JES-AHG                        Document 1-3              Filed 09/04/24                PageID.89           Page 39
                                                                              of 55
                                                                                                                                                               SUM-100
                                                               SUMMONS                                                                    FOR COURT USE ONLY
                                                                                                                                      (SOLO PARA USO DE LA CORTE)
                                                       (CITACION JUDICIAL)

            NOTICE TO DEFENDANT:
            (AVISO AL DEMANDADO):
            JPMORGAN CHASE BANK, N.A., a national banking association, and DOES 1- 10, INCLUSIVE


            YOU ARE BEING SUED BY PLAINTIFF:
            (LO ESTÁ DEMANDANDO EL DEMANDANTE):
            RONALD A. MARRON, an individual

            NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
            below.
               You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
            served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
            case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
            Online Self-Help Center (www.courtinfo.ca.gov/selfhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask the
            court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property may
            be taken without further warning from the court.
               There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
            referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
            these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifornia.org), the California Courts Online Self-Help Center
            (www.courtinfo.ca.gov/selfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
            costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
            ¡AVISO! Lo han demandado. Si no responde dentro de 30 días, la corte puede decidir en su contra sin escuchar su versión. Lea la información a
            continuación.
               Tiene 30 DÍAS DE CALENDARIO después de que le entreguen esta citación y papeles legales para presentar una respuesta por escrito en esta
            corte y hacer que se entregue una copia al demandante. Una carta o una llamada telefónica no lo protegen. Su respuesta por escrito tiene que estar
            en formato legal correcto si desea que procesen su caso en la corte. Es posible que haya un formulario que usted pueda usar para su respuesta.
            Puede encontrar estos formularios de la corte y más información en el Centro de Ayuda de las Cortes de California (www.sucorte.ca.gov), en la
            biblioteca de leyes de su condado o en la corte que le quede más cerca. Si no puede pagar la cuota de presentación, pida al secretario de la corte que
            le dé un formulario de exención de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso por incumplimiento y la corte le podrá
            quitar su sueldo, dinero y bienes sin más advertencia.
               Hay otros requisitos legales. Es recomendable que llame a un abogado inmediatamente. Si no conoce a un abogado, puede llamar a un servicio de
            remisión a abogados. Si no puede pagar a un abogado, es posible que cumpla con los requisitos para obtener servicios legales gratuitos de un
            programa de servicios legales sin fines de lucro. Puede encontrar estos grupos sin fines de lucro en el sitio web de California Legal Services,
            (www.lawhelpcalifornia.org), en el Centro de Ayuda de las Cortes de California, (www.sucorte.ca.gov) o poniéndose en contacto con la corte o el
            colegio de abogados locales. AVISO: Por ley, la corte tiene derecho a reclamar las cuotas y los costos exentos por imponer un gravamen sobre
            cualquier recuperación de $10,000 ó más de valor recibida mediante un acuerdo o una concesión de arbitraje en un caso de derecho civil. Tiene que
            pagar el gravamen de la corte antes de que la corte pueda desechar el caso.
                                                                                                           CASE NUMBER:
            The name and address of the court is:                                                          (Número del Caso):   37-2024-00006839-CU-BC-CTL
            (El nombre y dirección de la corte es): Superior Court of California for the County
            of San Diego, Central Division, San Diego, CA 92101

            The name, address, and telephone number of plaintiff's attorney, or plaintiff without an attorney, is:
            (El nombre, la dirección y el número de teléfono del abogado del demandante, o del demandante que no tiene abogado, es):
            Michael G. Olinik, The Law Office of Michael G. Olinik, 501 W. Broadway, Ste. 800, San Diego, CA 92101, (619) 780-5523
            DATE:                                                               Clerk, by                                            , Deputy
            (Fecha)                                                             (Secretario)                                         (Adjunto)
            (For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
            (Para prueba de entrega de esta citatión use el formulario Proof of Service of Summons, (POS-010)).
             [SEAL]                              NOTICE TO THE PERSON SERVED: You are served
                                                 1.      as an individual defendant.
                                                 2.      as the person sued under the fictitious name of (specify):

                                                 3.          on behalf of (specify):
                                                      under:        CCP 416.10 (corporation)                                     CCP 416.60 (minor)
                                                                    CCP 416.20 (defunct corporation)                             CCP 416.70 (conservatee)
                                                                    CCP 416.40 (association or partnership)                      CCP 416.90 (authorized person)
                                                                    other (specify):
                                                 4.          by personal delivery on (date):
                                                                                                                                                                   Page 1 of 1
            Form Adopted for Mandatory Use                                                                                               Code of Civil Procedure §§ 412.20, 465
              Judicial Council of California
                                                                                  SUMMONS                                                                    www.courts.ca.gov
              SUM-100 [Rev. July 1, 2009]

ction and                                                                  have printed the form.
         Case 3:24-cv-01569-JES-AHG                           Document 1-3           Filed 09/04/24          PageID.90        Page 40
                                                                    of 55
ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address):                                        FOR COURT USE ONLY
Michael G. Olinik (SBN #291020)
The Law Office of Michael G. Olinik
501 W. Broadway Ste. 800, San Diego, CA 92101
      TELEPHONE NO.: (619) 780-5523         FAX NO.(Optional):

             michael@oliniklaw.com
 E-MAIL ADDRESS (Optional):

             Ronald A Marron
    ATTORNEY FOR (Name):

SUPERIOR COURT OF CALIFORNIA, COUNTY OF SAN DIEGO
     CENTRAL DIVISION, HALL OF JUSTICE, 330 W. BROADWAY, SAN DIEGO, CA 92101
     EAST COUNTY DIVISION, 250 E. MAIN ST., EL CAJON, CA 92020
     NORTH COUNTY DIVISION, 325 S. MELROSE DR., SUITE 1000, VISTA, CA 92081
     SOUTH COUNTY DIVISION, 500 3RD AVE., CHULA VISTA, CA 91910
PLAINTIFF(S)                                                                                         JUDGE
Ronald A. Marron                                                                                     Hon. Joel R. Wohlfeil
DEFENDANT(S)                                                                                         DEPT

JPMorgan Chase Bank NA                                                                               C-73
                                                                                                     CASE NUMBER
                      NOTICE OF PAYMENT OF ADVANCE JURY FEE                                          37-2024-00006839-CU-BC-CTL

                                                                            NOTICE

TO:      The above court, the clerk thereof, and all concerned parties:
         The statutory advance jury fee is tendered herewith on behalf of the
             Plaintiff        Defendant Ronald A Marron
                                                                                       (Full Name)

         Parcel No.(s) (if appropriate)


Date: July 15, 2024
                                                                                                                                      Signature


                                                      DECLARATION OF SERVICE BY MAIL
I declare that: I am over the age of 18 years and not a party to this case; I am employed in, or am a resident of the County
where the mailing took place; and my residence or business address is:
501 W. Broadway, Ste. 800, San Diego, CA 92101



I served the NOTICE OF PAYMENT OF ADVANCE JURY FEE by placing a true copy in separate envelopes addressed
to each addressee, respectively, as follows:
Bryant Delgadillo
PIB Law
695 Town Center Drive, 16th Floor
Costa Mesa, CA 92626

I then sealed each envelope and, with postage thereon fully prepaid, placed each for deposit in the United States Postal
Service, on the date shown below at (City and State) San Diego, CA

I declare under penalty of perjury, under the laws of the State of California, that the foregoing is true and correct.

Date: July 15, 2024

Michael G. Olinik
Type or Print Name                                                                                                                    Signature

SDSC CIV-105 (Rev. 9/12)                      NOTICE OF PAYMENT OF ADVANCE JURY FEE
                       Case 3:24-cv-01569-JES-AHG                         Document 1-3             Filed 09/04/24            PageID.91           Page 41
                                                                                of 55
                                                                                                                                                            POS-015
            ATTORNEY OR PARTY WITHOUT ATTORNEY:                     STATE BAR NO:    291020                                        FOR COURT USE ONLY
            NAME: Michael G. Olinik
            FIRM NAME: The Law Office of Michael G. Olinik
            STREET ADDRESS: 501 W. Broadway, Ste. 800
            CITY: San Diego                                               STATE: CA      ZIP CODE: 92101
            TELEPHONE NO.:  (619) 780-5523                               FAX NO. :

            E-MAIL ADDRESS: michael@oliniklaw.com

            ATTORNEY FOR (Name): Ronald A. Marron

            SUPERIOR COURT OF CALIFORNIA, COUNTY OF San Diego
             STREET ADDRESS:330 West Broadway
             MAILING ADDRESS:330 West Broadway
            CITY AND ZIP CODE:San Diego 92101
                 BRANCH NAME:Central - Hall of Justice


                    Plaintiff/Petitioner:Ronald A. Marron
            Defendant/Respondent:JPMorgan Chase Bank, N.A.
                                                                                                                    CASE NUMBER:
                            NOTICE AND ACKNOWLEDGMENT OF RECEIPT—CIVIL                                              37-2024-00006839-CU-BC-CTL


            TO (insert name of party being served): JPMorgan Chase Bank, N.A.

                                                                                       NOTICE
                 The summons and other documents identified below are being served pursuant to section 415.30 of the California Code of Civil
                 Procedure. Your failure to complete this form and return it within 20 days from the date of mailing shown below may subject you
                 (or the party on whose behalf you are being served) to liability for the payment of any expenses incurred in serving a summons
                 on you in any other manner permitted by law.
                 If you are being served on behalf of a corporation, an unincorporated association (including a partnership), or other entity, this
                 form must be signed by you in the name of such entity or by a person authorized to receive service of process on behalf of such
                 entity. In all other cases, this form must be signed by you personally or by a person authorized by you to acknowledge receipt of
                 summons. If you return this form to the sender, service of a summons is deemed complete on the day you sign the
                 acknowledgment of receipt below.


            Date of mailing: Via E-mail July 17, 2024


                                             Michael G. Olinik
                                             (TYPE OR PRINT NAME)                                          (SIGNATURE OF SENDER—MUST NOT BE A PARTY IN THIS CASE)



                                                                    ACKNOWLEDGMENT OF RECEIPT
            This acknowledges receipt of (to be completed by sender before mailing):

            1.     ✖     A copy of the summons and of the complaint.
            2.     ✖     Other (specify):
                         Civil Case Cover Sheet; Notice of Case Assignment, Alternative Dispute Resolution (ADR) Information, Stipulation to
                         Use Alternative Dispute Resolution, First Amended Complaint; CMC Statement; Jury Fee Deposit



            (To be completed by recipient):

            Date this form is signed:


                           (TYPE OR PRINT YOUR NAME AND NAME OF ENTITY, IF ANY,                        (SIGNATURE OF PERSON ACKNOWLEDGING RECEIPT, WITH TITLE IF
                                  ON WHOSE BEHALF THIS FORM IS SIGNED)                              ACKNOWLEDGMENT IS MADE ON BEHALF OF ANOTHER PERSON OR ENTITY)




                                                                                                                                                                Page 1 of 1

            Form Adopted for Mandatory Use
            Judicial Council of California
                                                     NOTICE AND ACKNOWLEDGMENT OF RECEIPT — CIVIL                                                   Code of Civil Procedure,
                                                                                                                                                         §§ 415.30, 417.10
            POS-015 [Rev. January 1, 2005]                                                                                                            www.courtinfo.ca.gov


ction and                                                                     have printed the form.
            Case 3:24-cv-01569-JES-AHG                     Document 1-3             Filed 09/04/24           PageID.92            Page 42
                                                                 of 55
                                                                                                                                                CM-110
ATTORNEY OR PARTY WITHOUT ATTORNEY                        STATE BAR NUMBER:   291020                                 FOR COURT USE ONLY
NAME:  Michael G. Olinik
FIRM NAME: The Law Office of Michael G. Olinik
STREET ADDRESS: 501 W. Broadway Ste. 800
CITY: San Diego                                           STATE: CA      ZIP CODE: 92101
TELEPHONE NO.: (619) 780-5523                            FAX NO.:
EMAIL ADDRESS: michael@oliniklaw.com
ATTORNEY FOR (name): Ronald A. Marron

SUPERIOR COURT OF CALIFORNIA, COUNTY OF SAN DIEGO
 STREET ADDRESS: 330 W. Broadway
 MAILING ADDRESS: 330 W. Broadway
CITY AND ZIP CODE: San Diego 92101
      BRANCH NAME: Central - Hall of Justice

           PLAINTIFF/PETITIONER: Ronald A. Marron
 DEFENDANT/RESPONDENT: JPMorgan Chase Bank N.A.

                                 CASE MANAGEMENT STATEMENT                                            CASE NUMBER:

(Check one):             ✖       UNLIMITED CASE                 LIMITED CASE                          37-2024-00006839-CU-BC-CTL
                                 (Amount demanded               (Amount demanded is $35,000
                                 exceeds $35,000)               or less)

A CASE MANAGEMENT CONFERENCE is scheduled as follows:
Date: July 19, 2024                           Time: 1:30 p.m.         Dept.: C-73             Div.:                        Room:
Address of court (if different from the address above):

  ✖        Notice of Intent to Appear by Telephone, by (name): Michael G. Olinik (VIa Teams)
                  INSTRUCTIONS: All applicable boxes must be checked, and the specified information must be provided.
1. Party or parties (answer one):
   a.   ✖   This statement is submitted by party (name): Ronald A. Marron
      b.            This statement is submitted jointly by parties (names):
2. Complaint and cross-complaint (to be answered by plaintiffs and cross-complainants only)
      a. The complaint was filed on (date): January 18, 2024
   b.       The cross-complaint, if any, was filed on (date):
3. Service (to be answered by plaintiffs and cross-complainants only)
   a.       All parties named in the complaint and cross-complaint have been served, have appeared, or have been dismissed.
      b.      ✖     The following parties named in the complaint or cross-complaint
            (1)         have not been served (specify names and explain why not):

            (2)     ✖   have been served but have not appeared and have not been dismissed (specify names):
                        JPMorgan Chase Bank, N.A.
            (3)         have had a default entered against them (specify names):

      c.            The following additional parties may be added (specify names, nature of involvement in case, and date by which
                    they may be served):




4. Description of case
   a. Type of case in  ✖               complaint                cross-complaint        (Describe, including causes of action):




                                                                                                                                                 Page 1 of 5

                                                                                                                                          Cal. Rules of Court,
Form Adopted for Mandatory Use
Judicial Council of California
                                                     CASE MANAGEMENT STATEMENT                                                             rules 3.720–3.730
CM-110 [Rev. January 1, 2024]                                                                                                             www.courts.ca.gov
          Case 3:24-cv-01569-JES-AHG                       Document 1-3              Filed 09/04/24         PageID.93           Page 43
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                                                                                                                                          CM-110
      PLAINTIFF/PETITIONER: Ronald A. Marron                                                        CASE NUMBER:

 DEFENDANT/RESPONDENT: JPMorgan Chase Bank N.A.                                                     37-2024-00006839-CU-BC-CTL

4. b. Provide a brief statement of the case, including any damages (if personal injury damages are sought, specify the injury and
      damages claimed, including medical expenses to date [indicate source and amount], estimated future medical expenses, lost
      earnings to date, and estimated future lost earnings; if equitable relief is sought, describe the nature of the relief):




        (If more space is needed, check this box and attach a page designated as Attachment 4b.)
5. Jury or nonjury trial
   The party or parties request   ✖   a jury triaI        a nonjury trial. (If more than one party, provide the name of each party
   requesting a jury trial):


6. Trial date
    a.            The trial has been set for (date):
    b.      ✖    No trial date has been set. This case will be ready for trial within 12 months of the date of the filing of the complaint (if
                 not, explain):
                 Plaintiff wishes to pursue a class action, so need time to secure new counsel and go through class discovery
    c. Dates on which parties or attorneys will not be available for trial (specify dates and explain reasons for unavailability):



7. Estimated length of trial
    The party or parties estimate that the trial will take (check one)
    a.   ✖   days (specify number): ten days
     b.           hours (short causes) (specify):
8. Trial representation (to be answered for each party)
    The party or parties will be represented at trial             by the attorney or party listed in the caption     ✖    by the following:
    a. Attorney: To be determined.
     b. Firm:
    c. Address:
     d. Telephone number:                                                       f.   Fax number:
     e. Email address:                                                          g. Party represented:
        Additional representation is described in Attachment 8.
9. Preference
             This case is entitled to preference (specify code section):
10. Alternative dispute resolution (ADR)
    a. ADR information package. Please note that different ADR processes are available in different courts and communities; read
        the ADR information package provided by the court under rule 3.221 of the California Rules of Court for information about the
        processes available through the court and community programs in this case.
       (1) For parties represented by counsel: Counsel            ✖    has          has not provided the ADR information package identified
           in rule 3.221 to the client and reviewed ADR options with the client.
       (2) For self-represented parties: Party            has          has not reviewed the ADR information package identified in rule 3.221.
    b. Referral to judicial arbitration or civil action mediation (if available).
       (1)      This matter is subject to mandatory judicial arbitration under Code of Civil Procedure section 1141.11 or to civil action
                mediation under Code of Civil Procedure section 1775.3 because the amount in controversy does not exceed the
                statutory limit.
       (2)      Plaintiff elects to refer this case to judicial arbitration and agrees to limit recovery to the amount specified in Code of
                Civil Procedure section 1141.11.
       (3)      This case is exempt from judicial arbitration under rule 3.811 of the California Rules of Court or from civil action
                mediation under Code of Civil Procedure section 1775 et seq. (specify exemption):



CM-110 [Rev. January 1, 2024]                                                                                                              Page 2 of 5
                                                       CASE MANAGEMENT STATEMENT
         Case 3:24-cv-01569-JES-AHG                      Document 1-3           Filed 09/04/24          PageID.94            Page 44
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      PLAINTIFF/PETITIONER: Ronald A. Marron                                                    CASE NUMBER:

 DEFENDANT/RESPONDENT: JPMorgan Chase Bank N.A.                                                 37-2024-00006839-CU-BC-CTL



10. c. In the table below, indicate the ADR process or processes that the party or parties are willing to participate in, have agreed to
       participate in, or have already participated in (check all that apply and provide the specified information):




                                The party or parties completing If the party or parties completing this form in the case have agreed to
                                this form are willing to          participate in or have already completed an ADR process or processes,
                                participate in the following ADR indicate the status of the processes (attach a copy of the parties' ADR
                                processes (check all that apply): stipulation):
                                                                    ✖   Mediation session not yet scheduled
                                                                        Mediation session scheduled for (date):
     (1) Mediation                              ✖
                                                                        Agreed to complete mediation by (date):
                                                                        Mediation completed on (date):

                                                                        Settlement conference not yet scheduled
     (2) Settlement                                                     Settlement conference scheduled for (date):
         conference                                                     Agreed to complete settlement conference by (date):
                                                                        Settlement conference completed on (date):

                                                                        Neutral evaluation not yet scheduled
                                                                        Neutral evaluation scheduled for (date):
   (3) Neutral evaluation
                                                                        Agreed to complete neutral evaluation by (date):
                                                                        Neutral evaluation completed on (date):

                                                                        Judicial arbitration not yet scheduled
   (4) Nonbinding judicial                                              Judicial arbitration scheduled for (date):
        arbitration                                                     Agreed to complete judicial arbitration by (date):
                                                                        Judicial arbitration completed on (date):

                                                                        Private arbitration not yet scheduled
     (5) Binding private                                                Private arbitration scheduled for (date):
         arbitration                                                    Agreed to complete private arbitration by (date):
                                                                        Private arbitration completed on (date):

                                                                        ADR session not yet scheduled
                                                                        ADR session scheduled for (date):
     (6) Other (specify):
                                                                        Agreed to complete ADR session by (date):
                                                                        ADR completed on (date):




CM-110 [Rev. January 1, 2024]                                                                                                      Page 3 of 5
                                                    CASE MANAGEMENT STATEMENT
           Case 3:24-cv-01569-JES-AHG                         Document 1-3             Filed 09/04/24         PageID.95           Page 45
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                                                                                                                                          CM-110
      PLAINTIFF/PETITIONER: Ronald A. Marron                                                           CASE NUMBER:

 DEFENDANT/RESPONDENT: JPMorgan Chase Bank N.A.                                                        37-2024-00006839-CU-BC-CTL

11. Insurance
    a.            Insurance carrier, if any, for party filing this statement (name):
    b. Reservation of rights:             Yes            No
    c.            Coverage issues will significantly affect resolution of this case (explain):




12. Jurisdiction
    Indicate any matters that may affect the court's jurisdiction or processing of this case and describe the status.
         Bankruptcy                Other (specify):
    Status:

13. Related cases, consolidation, and coordination
    a.       There are companion, underlying, or related cases.
           (1) Name of case:
           (2) Name of court:
           (3) Case number:
           (4) Status:
                  Additional cases are described in Attachment 13a.

    b.            A motion to             consolidate                 coordinate        wiII be filed by (name party):

14. Bifurcation
             The party or parties intend to file a motion for an order bifurcating, severing, or coordinating the following issues or causes of
             action (specify moving party, type of motion, and reasons):




15. Other motions

       ✖     The party or parties expect to file the following motions before trial (specify moving party, type of motion, and issues):
             Motion for Class Certification (To Be Determined)



16. Discovery
    a.            The party or parties have completed all discovery.
    b.      ✖     The following discovery will be completed by the date specified (describe all anticipated discovery):
                Party                                   Description                                                                Date
    Marron to JP Morgan                                 Written discovery (class)                                        August 2024
    Marron to JP Morgan                                 Written discovery (merits)                                       January 2025
    Marron to JP Morgan                                 Depositions                                                      February 2025



    c.           The following discovery issues, including issues regarding the discovery of electronically stored information, are
                 anticipated (specify):




                                                                                                                                          Page 4 of 5
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                                                      CASE MANAGEMENT STATEMENT
           Case 3:24-cv-01569-JES-AHG                      Document 1-3            Filed 09/04/24           PageID.96           Page 46
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      PLAINTIFF/PETITIONER: Ronald A. Marron                                                        CASE NUMBER:

 DEFENDANT/RESPONDENT: JPMorgan Chase Bank N.A.                                                     37-2024-00006839-CU-BC-CTL


17. Economic litigation
     a.           This is a limited civil case (i.e., the amount demanded is $35,000 or less) and the economic litigation procedures in Code
                  of Civil Procedure sections 90-98 will apply to this case.
     b.           This is a limited civil case and a motion to withdraw the case from the economic litigation procedures or for additional
                  discovery will be filed (if checked, explain specifically why economic litigation procedures relating to discovery or trial
                  should not apply to this case):




18. Other issues
       ✖     The party or parties request that the following additional matters be considered or determined at the case management
             conference (specify):
             Plaintiff is looking for new counsel to serve as class counsel with current counsel to withdraw. Plaintiff requests the CMC be
             continued 120 days.




19. Meet and confer
    a.            The party or parties have met and conferred with all parties on all subjects required by rule 3.724 of the California Rules
                  of Court (if not, explain):




    b.            After meeting and conferring as required by rule 3.724 of the California Rules of Court, the parties agree on the following
                  (specify):




20. Total number of pages attached (if any): 0
I am completely familiar with this case and will be fully prepared to discuss the status of discovery and alternative dispute resolution,
as well as other issues raised by this statement, and will possess the authority to enter into stipulations on these issues at the time of
the case management conference, including the written authority of the party where required.

Date: July 15, 2024

Michael G. Olinik
                                (TYPE OR PRINT NAME)                                              (SIGNATURE OF PARTY OR ATTORNEY)




                                (TYPE OR PRINT NAME)                                              (SIGNATURE OF PARTY OR ATTORNEY)

                                                                                       Additional signatures are attached.




CM-110 [Rev. January 1, 2024]
                                                       CASE MANAGEMENT STATEMENT                                                          Page 5 of 5
       Case 3:24-cv-01569-JES-AHG                            Document 1-3       Filed 09/04/24      PageID.97            Page 47
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SUPERIOR COURT OF CALIFORNIA, COUNTY OF SAN DIEGO
STREET ADDRESS:      330 W Broadway
MAILING ADDRESS:     330 W Broadway
CITY AND ZIP CODE:   San Diego, CA 92101-3827
DIVISION:            Central
TELEPHONE NUMBER: (619) 450-7073

PLAINTIFF(S) / PETITIONER(S):              Ronald A Marron

DEFENDANT(S) / RESPONDENT(S): JPMorgan Chase Bank NA


 MARRON VS JPMORGAN CHASE BANK NA [IMAGED]
                                                                                              CASE NUMBER:
NOTICE OF CASE ASSIGNMENT AND CASE MANAGEMENT CONFERENCE
                           (CIVIL)                                                            37-2024-00006839-CU-BC-CTL

CASE ASSIGNED FOR ALL PURPOSES TO:
Judge: Joel R. Wohlfeil                                                               Department: C-73

COMPLAINT/PETITION FILED: 01/18/2024

TYPE OF HEARING SCHEDULED                            DATE            TIME            DEPT             JUDGE
Civil Case Management Conference                     07/19/2024      01:30 pm        C-73             Joel R. Wohlfeil


Case Management Conferences (CMCs) may be conducted virtually or in person. Anyone wishing to appear remotely should visit
the "Appearing for Hearings" page for the most current instructions on how to appear for the applicable case-type/department on the
court's website at www.sdcourt.ca.gov.
A Case Management Statement (JC Form #CM-110) must be completed by counsel for all parties and by all self-represented litigants
and timely filed with the court at least 15 days prior to the initial CMC. (San Diego Superior Court (SDSC) Local Rules, rule 2.1.9; Cal.
Rules of Court, rule 3.725).
All counsel of record and self-represented litigants must appear at the CMC, be familiar with the case, and be fully prepared to
participate effectively in the hearing, including discussions of Alternative Dispute Resolution (ADR) options.
It is the duty of each plaintiff (and cross-complainant) to serve a copy of this Notice of Case Assignment and Case Management
Conference (SDSC Form #CIV-721) with the complaint (and cross-complaint), the Alternative Dispute Resolution (ADR) Information
Form (SDSC Form # CIV-730), a Stipulation to Use Alternative Dispute Resolution (ADR) (SDSC Form # CIV-359), and other
documents on all parties to the action as set out in SDSC Local Rules, rule 2.1.5.
TIME FOR SERVICE AND RESPONSE: The following rules apply to civil cases except for collections cases under California Rules of
Court, rule 3.740(a), unlawful detainer actions, proceedings under the Family Code, and other proceedings for which different service
requirements are prescribed by law (Cal. Rules of Court, rule 3.110; SDSC Local Rules, rule 2.1.5):
   • Service: The complaint must be served on all named defendants, and proof of service filed with the court within 60 days after
      filing the complaint. An amended complaint adding a defendant must be served on the added defendant and proof of service
      filed within 30 days after filing of the amended complaint. A cross-complaint against a party who has appeared in the action
      must be accompanied by proof of service on that party at the time it is filed. If it adds a new party, the cross-complaint must be
      served on all parties and proof of service on the new party must be filed within 30 days of the filing of the cross-complaint.
   • Defendant's appearance: Unless a special appearance is made, each defendant served must generally appear (as defined in
      Code of Civ. Proc. § 1014) within 30 days of service of the complaint/cross-complaint.
   • Extensions: The parties may stipulate without leave of court to one 15-day extension beyond the 30-day time period prescribed
      for the response after service of the initial complaint (SDSC Local Rules, rule 2.1.6). If a party fails to serve and file pleadings
      as required under this rule, and has not obtained an order extending time to serve its pleadings, the court may issue an order to
      show cause why sanctions shall not be imposed.
JURY FEES: In order to preserve the right to a jury trial, one party for each side demanding a jury trial shall pay an advance jury fee in
the amount of one hundred fifty dollars ($150) on or before the date scheduled for the initial case management conference in the
action.
COURT REPORTERS: Official Court Reporters are not normally available in civil matters, but may be requested in certain situations
no later than 10 days before the hearing date. See SDSC Local Rules, rule 1.2.3 and Policy Regarding Normal Availability and
Unavailability of Official Court Reporters (SDSC Form #ADM-317) for further information.
ALTERNATIVE DISPUTE RESOLUTION (ADR): The court discourages any unnecessary delay in civil actions; therefore,
continuances are discouraged and timely resolution of all actions, including submitting to any form of ADR is encouraged. The court
encourages and expects the parties to consider using ADR options prior to the CMC. The use of ADR will be discussed at the CMC.
Prior to the CMC, parties stipulating to the ADR process may file the Stipulation to Use Alternative Dispute Resolution (SDSC Form
#CIV-359).

SDSC CIV-721 (Rev. 04-21)                                                                                                       Page: 1
                                  NOTICE OF CASE ASSIGNMENT AND CASE MANAGEMENT CONFERENCE
                                                             (CIVIL)
        Case 3:24-cv-01569-JES-AHG                       Document 1-3            Filed 09/04/24           PageID.98           Page 48
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                                         NOTICE OF E-FILING REQUIREMENTS
                                             AND IMAGED DOCUMENTS

Effective April 15, 2021, e-filing is required for attorneys in represented cases in all limited and unlimited civil cases, pursuant to the San
Diego Superior Court General Order: In Re Procedures Regarding Electronically Imaged Court Records, Electronic Filing and Access to
Electronic Court Records in Civil and Probate Cases. Additionally, you are encouraged to review CIV-409 for a listing of documents that
are not eligible for e-filing. E-filing is also encouraged, but not mandated, for self-represented litigants, unless otherwise ordered by the
court. All e-filers are required to comply with the e-filing requirements set forth in Electronic Filing Requirements (Civil) (SDSC Form
#CIV-409) and Cal. Rules of Court, rules 2.250-2.261.
All Civil cases are assigned to departments that are part of the court’s “Imaging Program.” This means that original documents filed with
the court will be imaged, held for 30 days, and then destroyed, with the exception of those original documents the court is statutorily
required to maintain. The electronic copy of the filed document(s) will be the official court record, pursuant to Government Code § 68150.
Thus, original documents should not be attached to pleadings filed with the San Diego Superior Court, unless it is a document for which
the law requires an original be filed. Any original documents necessary for a motion hearing or trial shall be lodged in advance of the
hearing pursuant to California Rules of Court, rule 3.1302(b).
It is the duty of each plaintiff, cross-complainant, or petitioner to serve a copy of this Notice of Case Assignment and Case Management
Conference (Civil) (SDSC Form #CIV-721) with the complaint, cross-complaint, or petition on all parties to the action.

On all pleadings filed after the initial case originating filing, all parties must, to the extent it is feasible to do so, place the words “IMAGED
FILE” in all caps immediately under the title of the pleading on all subsequent pleadings filed in the action.
The official court file will be electronic and accessible at one of the kiosks located in the Civil Business Office and may be found on the
court’s website at www.sdcourt.ca.gov.




                                                                                                                                        Page: 2
              Case 3:24-cv-01569-JES-AHG                       Document 1-3            Filed 09/04/24      PageID.99                 Page 49
                                                                     of 55
                                                                                                                                                  MC-040
ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address):
                                                                                                                 FOR COURT USE ONLY
Michael G. Olinik (SBN # 291020)
The Law Office of Michael G. Olinik
501 W. Broadway, Ste. 800
San Diego, CA 92101


                          (619) 780-5523
              TELEPHONE NO.:                                 FAX NO. (Optional):
E-MAIL ADDRESS (Optional):michael@oliniklaw.com
     ATTORNEY FOR (Name): Ronald A. Marron

SUPERIOR COURT OF CALIFORNIA, COUNTY OF San Diego
 STREET ADDRESS: 330 W. Broadway
 MAILING ADDRESS: 330 W. Broadway
CITY AND ZIP CODE: San Diego 92101
     BRANCH NAME: Central - Hall of Justice

                                                                                                  CASE NUMBER:
      PLAINTIFF/PETITIONER: Ronald A. Marron                                                      37-2024-00006839-CU-BC-CTL

DEFENDANT/RESPONDENT: JPMorgan Chase Bank, N.A.                                                   JUDICIAL OFFICER:
                                                                                                  Hon. Joel R. Wohlfeil
                           NOTICE OF CHANGE OF ADDRESS OR OTHER                                   DEPT.:

                                   CONTACT INFORMATION                                            C-73

1. Please take notice that, as of (date): August 23, 2024
                   the following self-represented party or
          ✖        the attorney for:
              a.       ✖   plaintiff (name): Ronald A. Marron
              b.           defendant (name):
              c.           petitioner (name):
              d.           respondent (name):
              e.           other (describe):

     has changed his or her address for service of notices and documents or other contact information in the above-captioned
     action.
                   A list of additional parties represented is provided in Attachment 1.
2. The new address or other contact information for (name): Michael G. Olinik, Esq.
   is as follows:
     a.       Street: 501 W. Broadway Ste. 800
     b.       City: San Diego
     c.       Mailing address (if different from above):
     d.       State and zip code: CA 92101
     e.       Telephone number: (619) 780-5523
     f.       Fax number (if available):
     g.       E-mail address (if available): michael@oliniklaw.com

3.    All notices and documents regarding the action should be sent to the above address.

Date: August 23, 2024

Michael G. Olinik
                               (TYPE OR PRINT NAME)                                               (SIGNATURE OF PARTY OR ATTORNEY)



                                                                                                                                                   Page 1 of 2
Form Approved for Optional Use                                                                                        Cal. Rules of Court, rules 2.200 and 8.816
  Judicial Council of California
                                                      NOTICE OF CHANGE OF ADDRESS OR OTHER
                                                                                                                                              www.courts.ca.gov
MC-040 [Rev. January 1, 2013]                                 CONTACT INFORMATION
          Case 3:24-cv-01569-JES-AHG                     Document 1-3           Filed 09/04/24            PageID.100            Page 50
                                                                of 55
                                                                                                                                     MC-040
     PLAINTIFF/PETITIONER: Ronald A. Marron                                                      CASE NUMBER:

DEFENDANT/RESPONDENT: JPMorgan Chase Bank, N.A.                                                  37-2024-00006839-CU-BC-CTL

                                               PROOF OF SERVICE BY FIRST-CLASS MAIL
                                   NOTICE OF CHANGE OF ADDRESS OR OTHER CONTACT INFORMATION

(NOTE: This page may be used for proof of service by first-class mail of the Notice of Change of Address or Other Contact
Information. Please use a different proof of service, such as Proof of Service—Civil (form POS-040), if you serve this notice
by a method other than first class-mail, such as by fax or electronic service. You cannot serve the Notice of Change of
Address or Other Contact Information if you are a party in the action. The person who served the notice must complete this
proof of service.)
1. At the time of service, I was at least 18 years old and not a party to this action.
2. I am a resident of or employed in the county where the mailing took place. My residence or business address is (specify):
   501 W. Broadway, Ste. 800, San Diego, CA 92101

3. I served a copy of the Notice of Change of Address or Other Contact Information by enclosing it in a sealed envelope addressed
   to the persons at the addresses listed in item 5 and (check one):
   a.     ✖   deposited the sealed envelope with the United States Postal Service with postage fully prepaid.
     b.            placed the sealed envelope for collection and for mailing, following our ordinary business practices. I am readily
                   familiar with this business's practice for collecting and processing correspondence for mailing. On the same day
                   correspondence is placed for collection and mailing, it is deposited in the ordinary course of business with the United
                   States Postal Service in a sealed envelope with postage fully prepaid.
4. The Notice of Change of Address or Other Contact Information was placed in the mail:
     a. on (date): August 23, 2024
     b. at (city and state): San Diego, CA
5. The envelope was addressed and mailed as follows:
     a.    Name of person served:                                         c.   Name of person served:
           Marcos Sasso
           Street address: 2049 Century Park East Ste. 700                     Street address:
           City: Los Angeles                                                   City:
           State and zip code: CA 90067                                        State and zip code:


     b.    Name of person served:                                         d.   Name of person served:


           Street address:                                                     Street address:
           City:                                                               City:
           State and zip code:                                                 State and zip code:


          Names and addresses of additional persons served are attached. (You may use form POS-030(P).)


I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.

Date: August 23, 2024


Michael G. Olinik
                     (TYPE OR PRINT NAME OF DECLARANT)
                                                                                                     (SIGNATURE OF DECLARANT)




MC-040 [Rev. January 1, 2013]                         NOTICE OF CHANGE OF ADDRESS                                                     Page 2 of 2

                                                     OR OTHER CONTACT INFORMATION
Case 3:24-cv-01569-JES-AHG            Document 1-3       Filed 09/04/24    PageID.101      Page 51
                                             of 55



 1   Michael G. Olinik SBN # 291020
     The Law Office of Michael G. Olinik
 2   501 W. Broadway, Suite 800
     San Diego, CA 92101
 3   (619) 780-5523
     michael@oliniklaw.com
 4
     Attorney for Plaintiff Ronald A. Marron
 5   and the Proposed Class
 6
 7
 8                        SUPERIOR COURT OF THE STATE OF CALIFORNIA
                                     COUNTY OF SAN DIEGO
 9                                    CENTRAL DIVISION
10    RONALD A. MARRON, on behalf of                        Case No: 37-2024-00006839-CU-BC-CTL
      himself and all others similar situation, and
11    the general public,                                   NOTICE OF CONTINUED CASE
                                                            MANAGEMENT CONFERENCE
12                           Plaintiff,
                                                            Dept.: C-73
13                   v.                                     Judge: Hon. Joel R. Wohlfeil
                                                            Date: September 26, 2024
14    JPMORGAN CHASE BANK, N.A., a                          Time: 2:30 p.m.
      national banking association, and DOES 1-
15    10, INCLUSIVE,
16                           Defendant.
17
18
19   TO ALL INTERESTED PARTIES:

20          PLEASE TAKE NOTICE that the continued Case Management Conference in the above

21   captioned matter will take place on September 26, 2024 at 2:30 p.m. in Department C-73 of the Superior

22   Court of California, San Diego County, Hall of Justice, 330 W. Broadway, San Diego, California

23   92101. Plaintiff was ordered to give notice of this date.

24
     Date: August 23, 2024                                ______________________________
25
                                                          Michael G. Olinik
26
27                                                        Attorney for Plaintiff Ronald A. Marron

28

                                                 1
                                Marron v. JPMorgan Chase Bank, N.A.
                    NOTICE OF CONTINUED CASE MANAGEMENT CONFERENCE
         Case 3:24-cv-01569-JES-AHG                           Document 1-3          Filed 09/04/24        PageID.102                Page 52
                                                                     of 55
                                                                                                                                              POS-030
ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address):
                                                                                                                  FOR COURT USE ONLY
Michael G. Olinik (SBN # 291020)
The Law Office of Michael G. Olinik
501 W. Broadway Ste. 800
San Diego, CA 92101

           TELEPHONE NO.: (619) 780-5523                      FAX NO. (Optional):
 E-MAIL ADDRESS (Optional): michael@oliniklaw.com
    ATTORNEY FOR (Name): Ronald A. Marron

SUPERIOR COURT OF CALIFORNIA, COUNTY OF SAN DIEGO
 STREET ADDRESS: 330 W. Broadway
 MAILING ADDRESS: 330 W. Broadway
CITY AND ZIP CODE: San Diego 92101
    BRANCH NAME: Central - Hall of Justice

      PETITIONER/PLAINTIFF: Ronald A. Marron
RESPONDENT/DEFENDANT: JPMorgan Chase Bank, N.A.
                                                                                                   CASE NUMBER:
                    PROOF OF SERVICE BY FIRST-CLASS MAIL—CIVIL                                     37-2024-00006839-CU-BC-CTL

                                 (Do not use this Proof of Service to show service of a Summons and Complaint.)
1. I am over 18 years of age and not a party to this action. I am a resident of or employed in the county where the mailing
   took place.
2. My residence or business address is:
   501 W. Broadway, Ste. 800, San Diego, CA 92101



3. On (date): August 23, 2024         I mailed from (city and state): San Diego, CA
   the following documents (specify):
   Notice of Continued Case Management Conference



            The documents are listed in the Attachment to Proof of Service by First-Class Mail—Civil (Documents Served)
            (form POS-030(D)).
4. I served the documents by enclosing them in an envelope and (check one):
    a.      ✖     depositing the sealed envelope with the United States Postal Service with the postage fully prepaid.
    b.            placing the envelope for collection and mailing following our ordinary business practices. I am readily familiar with this
                  business’s practice for collecting and processing correspondence for mailing. On the same day that correspondence is
                  placed for collection and mailing, it is deposited in the ordinary course of business with the United States Postal Service in
                  a sealed envelope with postage fully prepaid.
5. The envelope was addressed and mailed as follows:
    a. Name of person served: Marcos Sasso
    b. Address of person served:
       Morgan, Lewis & Bockius LLP, 2049 Century Park East, Suite 700, Los Angeles, CA 90067




             The name and address of each person to whom I mailed the documents is listed in the Attachment to Proof of Service
             by First-Class Mail—Civil (Persons Served) (POS-030(P)).

I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.

Date: August 23, 2024

Michael G. Olinik
         (TYPE OR PRINT NAME OF PERSON COMPLETING THIS FORM)                                 (SIGNATURE OF PERSON COMPLETING THIS FORM)



Form Approved for Optional Use             PROOF OF SERVICE BY FIRST-CLASS MAIL—CIVIL                                 Code of Civil Procedure, §§ 1013, 1013a
Judicial Council of California                                                                                                            www.courts.ca.gov
POS-030 [New January 1, 2005]                           (Proof of Service)
       Case 3:24-cv-01569-JES-AHG      Document 1-3 Filed 09/04/24 PageID.103 Page 53
                                              of 55
                           SUPERIOR COURT OF CALIFORNIA, COUNTY OF SAN DIEGO


                               ALTERNATIVE DISPUTE RESOLUTION (ADR) INFORMATION



CASE NUMBER: 37-2024-00006839-CU-BC-CTL                    CASE TITLE: Marron vs JPMorgan Chase Bank NA [IMAGED]


NOTICE: All plaintiffs/cross-complainants in a general civil case are required to serve a copy of the following
three forms on each defendant/cross-defendant, together with the complaint/cross-complaint:
               (1) this Alternative Dispute Resolution (ADR) Information form (SDSC form #CIV-730),
               (2) the Stipulation to Use Alternative Dispute Resolution (ADR) form (SDSC form #CIV-359), and
               (3) the Notice of Case Assignment form (SDSC form #CIV-721).

Most civil disputes are resolved without filing a lawsuit, and most civil lawsuits are resolved without a trial. The courts,
community organizations, and private providers offer a variety of Alternative Dispute Resolution (ADR) processes to help
people resolve disputes without a trial. The San Diego Superior Court expects that litigants will utilize some form of ADR
as a mechanism for case settlement before trial, and it may be beneficial to do this early in the case.

Below is some information about the potential advantages and disadvantages of ADR, the most common types of ADR,
and how to find a local ADR program or neutral. A form for agreeing to use ADR is attached (SDSC form #CIV-359).

Potential Advantages and Disadvantages of ADR
ADR may have a variety of advantages or disadvantages over a trial, depending on the type of ADR process used and the
particular case:

           Potential Advantages                              Potential Disadvantages
           • Saves time                                      • May take more time and money if ADR does not
           • Saves money                                       resolve the dispute
           • Gives parties more control over the dispute     • Procedures to learn about the other side’s case (discovery),
             resolution process and outcome                    jury trial, appeal, and other court protections may be limited
           • Preserves or improves relationships               or unavailable


Most Common Types of ADR
You can read more information about these ADR processes and watch videos that demonstrate them on the court’s ADR
webpage at http://www.sdcourt.ca.gov/adr.

Mediation: A neutral person called a "mediator" helps the parties communicate in an effective and constructive manner
so they can try to settle their dispute. The mediator does not decide the outcome, but helps the parties to do so.
Mediation is usually confidential, and may be particularly useful when parties want or need to have an ongoing
relationship, such as in disputes between family members, neighbors, co-workers, or business partners, or when parties
want to discuss non-legal concerns or creative resolutions that could not be ordered at a trial.

Settlement Conference: A judge or another neutral person called a "settlement officer" helps the parties to understand
the strengths and weaknesses of their case and to discuss settlement. The judge or settlement officer does not make a
decision in the case but helps the parties to negotiate a settlement. Settlement conferences may be particularly helpful
when the parties have very different ideas about the likely outcome of a trial and would like an experienced neutral to help
guide them toward a resolution.

Arbitration: A neutral person called an "arbitrator" considers arguments and evidence presented by each side and then
decides the outcome of the dispute. Arbitration is less formal than a trial, and the rules of evidence are usually relaxed. If
the parties agree to binding arbitration, they waive their right to a trial and agree to accept the arbitrator's decision as final.
With nonbinding arbitration, any party may reject the arbitrator’s decision and request a trial. Arbitration may be
appropriate when the parties want another person to decide the outcome of their dispute but would like to avoid the
formality, time, and expense of a trial.


SDSC CIV-730 (Rev 12-10)    ALTERNATIVE DISPUTE RESOLUTION (ADR) INFORMATION                                                 Page: 1
       Case 3:24-cv-01569-JES-AHG               Document 1-3         Filed 09/04/24        PageID.104         Page 54
                                                       of 55
Other ADR Processes: There are several other types of ADR which are not offered through the court but which may be
obtained privately, including neutral evaluation, conciliation, fact finding, mini-trials, and summary jury trials. Sometimes
parties will try a combination of ADR processes. The important thing is to try to find the type or types of ADR that are
most likely to resolve your dispute. Be sure to learn about the rules of any ADR program and the qualifications of any
neutral you are considering, and about their fees.

Local ADR Programs for Civil Cases

Mediation: The San Diego Superior Court maintains a Civil Mediation Panel of approved mediators who have met
certain minimum qualifications and have agreed to charge $150 per hour for each of the first two (2) hours of mediation
and their regular hourly rate thereafter in court-referred mediations.

On-line mediator search and selection: Go to the court’s ADR webpage at www.sdcourt.ca.gov/adr and click on the
“Mediator Search” to review individual mediator profiles containing detailed information about each mediator including
their dispute resolution training, relevant experience, ADR specialty, education and employment history, mediation style,
and fees and to submit an on-line Mediator Selection Form (SDSC form #CIV-005). The Civil Mediation Panel List, the
Available Mediator List, individual Mediator Profiles, and Mediator Selection Form (CIV-005) can also be printed from the
court’s ADR webpage and are available at the Mediation Program Office or Civil Business Office at each court location.

Settlement Conference: The judge may order your case to a mandatory settlement conference, or voluntary settlement
conferences may be requested from the court if the parties certify that: (1) settlement negotiations between the parties
have been pursued, demands and offers have been tendered in good faith, and resolution has failed; (2) a judicially
supervised settlement conference presents a substantial opportunity for settlement; and (3) the case has developed to a
point where all parties are legally and factually prepared to present the issues for settlement consideration and further
discovery for settlement purposes is not required. Refer to SDSC Local Rule 2.2.1 for more information. To schedule a
settlement conference, contact the department to which your case is assigned.

Arbitration: The San Diego Superior Court maintains a panel of approved judicial arbitrators who have practiced law for
a minimum of five years and who have a certain amount of trial and/or arbitration experience. Refer to SDSC Local
Rules Division II, Chapter III and Code Civ. Proc. § 1141.10 et seq or contact the Arbitration Program Office at (619)
450-7300 for more information.

More information about court-connected ADR: Visit the court’s ADR webpage at www.sdcourt.ca.gov/adr or contact the
court’s Mediation/Arbitration Office at (619) 450-7300.

Dispute Resolution Programs Act (DRPA) funded ADR Programs: The following community dispute resolution
programs are funded under DRPA (Bus. and Prof. Code §§ 465 et seq.):
       • In Central, East, and South San Diego County, contact the National Conflict Resolution Center (NCRC) at
           www.ncrconline.com or (619) 238-2400.
       • In North San Diego County, contact North County Lifeline, Inc. at www.nclifeline.org or (760) 726-4900.

Private ADR: To find a private ADR program or neutral, search the Internet, your local telephone or business directory,
or legal newspaper for dispute resolution, mediation, settlement, or arbitration services.

Legal Representation and Advice

To participate effectively in ADR, it is generally important to understand your legal rights and responsibilities and the
likely outcomes if you went to trial. ADR neutrals are not allowed to represent or to give legal advice to the participants in
the ADR process. If you do not already have an attorney, the California State Bar or your local County Bar Association
can assist you in finding an attorney. Information about obtaining free and low cost legal assistance is also available on
the California courts website at www.courtinfo.ca.gov/selfhelp/lowcost.




SDSC CIV-730 (Rev 12-10)
                           ALTERNATIVE DISPUTE RESOLUTION (ADR) INFORMATION                                            Page: 2
       Case 3:24-cv-01569-JES-AHG                             Document 1-3              Filed 09/04/24              PageID.105              Page 55
                                                                     of 55
                                                                                                                              FOR COURT USE ONLY
  SUPERIOR COURT OF CALIFORNIA, COUNTY OF SAN DIEGO
 STREET ADDRESS:           330 West Broadway
 MAILING ADDRESS:          330 West Broadway
 CITY, STATE, & ZIP CODE: San Diego, CA     92101-3827
 BRANCH NAME:              Central

  PLAINTIFF(S):        Ronald A Marron

  DEFENDANT(S): JPMorgan Chase Bank NA

  SHORT TITLE:         MARRON VS JPMORGAN CHASE BANK NA [IMAGED]

                           STIPULATION TO USE ALTERNATIVE                                                      CASE NUMBER:
                               DISPUTE RESOLUTION (ADR)                                                         37-2024-00006839-CU-BC-CTL

  Judge: Joel R. Wohlfeil                                                                           Department: C-73

  The parties and their attorneys stipulate that the matter is at issue and the claims in this action shall be submitted to the following
  alternative dispute resolution (ADR) process. Selection of any of these options will not delay any case management timelines.
            Mediation (court-connected)                                      Non-binding private arbitration

            Mediation (private)                                              Binding private arbitration

            Voluntary settlement conference (private)                        Non-binding judicial arbitration (discovery until 15 days before trial)

            Neutral evaluation (private)                                     Non-binding judicial arbitration (discovery until 30 days before trial)

            Other (specify e.g., private mini-trial, private judge, etc.):




  It is also stipulated that the following shall serve as arbitrator, mediator or other neutral: (Name)




  Alternate neutral (for court Civil Mediation Program and arbitration only):


  Date:                                                                                     Date:




  Name of Plaintiff                                                                         Name of Defendant




  Signature                                                                                 Signature



  Name of Plaintiff’s Attorney                                                              Name of Defendant’s Attorney




  Signature                                                                                 Signature
  If there are more parties and/or attorneys, please attach additional completed and fully executed sheets.
  It is the duty of the parties to notify the court of any settlement pursuant to Cal. Rules of Court, rule 3.1385. Upon notification of the settlement,
  the court will place this matter on a 45-day dismissal calendar.
  No new parties may be added without leave of court.
  IT IS SO ORDERED.

  Dated: 02/15/2024                                                                                         JUDGE OF THE SUPERIOR COURT

SDSC CIV-359 (Rev 12-10)                                                                                                                                   Page: 1
                                     STIPULATION TO USE OF ALTERNATIVE DISPUTE RESOLUTION
